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                                                                                                  E-FILED
                                                              Tuesday, 02 February, 2016 01:14:05 AM
                                                                        Clerk, U.S. District Court, ILCD

                   IN THE UNITED STATES DISTRICT COURT
             CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

BEVERLY THROGMORTON, et al.,                         )
                                                     )       Case No. 3:12-cv-3087
       Plaintiffs,                                   )
                                                     )
               v.                                    )
                                                     )       Judge Richard Mills
Lincoln Correctional Center Former Assistant         )
Warden REYNOLDS in his individual capacity,          )
et al.,                                              )
                                                     )
       Defendants.                                   )       JURY TRIAL DEMANDED


                       PLAINTIFFS’ RESPONSE TO DEFENDANTS’
                         MOTION FOR SUMMARY JUDGMENT

       Plaintiffs, through their counsel, Loevy & Loevy, respond as follows to Defendants’

Motion for Summary Judgment (Dkt. No. 103):

                                       INTRODUCTION

       In March 2011, Defendants1 orchestrated the mass public strip search of approximately

200 women at Lincoln Correctional Center during a so-called “training exercise” for cadets. The

facts amassed by the Plaintiffs in discovery demonstrate numerous ways in which the cadet

training exercise transgressed all bounds of decency. Defendants performed strip searches of

female prisoners in large groups and in full view of men and other non-participants to the

searches. Despite the public setting, Defendants forced Plaintiffs to stand naked, shoulder-to-

shoulder with other prisoners, for prolonged periods of time and in positions in which they had to



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 Plaintiffs are not pursuing their claims against Defendants M. Brooks, Last, Bender, Boch,
Brown, Dilley, Hinton, Johner, Kenney, Killam, Mathias, Rickord, Van Middlesworth, Warden,
and Eddie Jones, and proceed only against Defendants Hulett, Reynolds, Dawdy, Craig,
Edmonson, Johnson, Leonetti, Pfeiffer, Slater, Krull, Dallas, Anderson, Crudup, Butler, and
Spaniol.
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expose their breasts and genitals. Defendants used threatening and sexually derogatory language

to humiliate and intimidate the prisoners, while ridiculing their naked bodies and body odors.

Defendants instructed the cadets to place tight handcuffs on the prisoners, and forced them to

stand for hours under threats and intimidation, without water, access to the bathroom, or regard

for age or disability status. And Defendants made no accommodation for the strip searches of

menstruating prisoners, resulting in non-hygienic and degrading conditions for all prisoners.

       Defendants seek summary judgment on Plaintiffs’ Fourth Amendment claims on the sole

basis that Plaintiffs lack a Fourth Amendment right to privacy. Strip searches by government

actors are among the most demeaning, dehumanizing, humiliating, and degrading invasions of

privacy that exist in our society. In recognition of this reality, both the Fourth and Eighth

Amendments afford certain rights against unconstitutional strip searches to prisoners, and courts

require that even authorized strip searches be performed in a reasonable and respectful manner.

Defendants’ conduct – subjecting the Plaintiffs to such a terrifying, humiliating, degrading

experience for the sole purpose of training cadets – implicates the Fourth Amendment and

subjects Defendants to liability, and the Seventh Circuit has made clear that the cases upon

which Defendants’ rely do not stand for a contrary proposition.

       Defendants also cannot escape liability for their misconduct by claiming that liability

attaches to only those who performed strip searches. An omission or a failure to intervene

suffices to violate civil rights when, as here, Defendants either directly participated in the

misconduct or failed to intervene despite having an opportunity to do so. The various Defendant

supervisors are also liable based on their knowledge of the misconduct and facilitation or

approval of it; their act of turning a blind eye toward the misconduct; and, their disregard of

known or obvious risks of constitutional violations that flowed from their failure to supervise



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their subordinates. In addition, Plaintiffs present ample evidence from which a jury could infer

that Defendants participated in a conspiracy to deprive the plaintiffs of their constitutional rights,

further establishing their liability.

        Finally, Defendants argue, without citation to any legal authority, that Plaintiffs cannot

show they are entitled to injunctive relief. To dispose of this argument, this Court need look no

further than Plaintiffs’ evidence that a similarly problematic cadet training exercise occurred at

Logan Correctional Center in 2013. Taking the facts in the light most favorable to the Plaintiffs,

IDOC has a significant ongoing constitutional problem each time IDOC cadets conduct mass

strip searches for training purposes in a manner that degrades, humiliates, and sexually harasses

female inmates without a valid penological purpose. IDOC’s stated policy and the manner in

which it conducted the searches in this case – without any resulting discipline and without any

regard for the numerous grievances filed by inmates – demonstrates the serious risk of ongoing

harm to Plaintiffs and those similarly situated. This Court should accordingly deny Defendants’

motion for summary judgment in full.

                    PLAINTIFFS’ RESPONSE TO DEFENDANTS’ FACTS

 I.     Undisputed Material Facts

        9.      Admitted.

        18.     Admitted.

        23.     Admitted.

        25.     Admitted.

        32.     Admitted.

        35.     Admitted.

        36.     Admitted.



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II.     Disputed Material Facts

        1.     Admitted in part. The cadet training exercise was not “facility-wide.” See Exhibit

1, Reynolds Dep. at 36:18-22, 45:3-15. Pasley goes on to say two of five housing units searched.

Appear to be using shakedown to mean living areas. Exhibit 2, 2013 Pasley Dep. at 7:1-10.

Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown at ¶2; Id., Decl. of Beverly

Throgmorton at ¶2; Exhibit 1, Reynolds Dep. at 70:15-21. Exhibit 2, 2013 Pasley Dep. at 57:22-

58:3.

        2.     Admitted in part. As set forth in response to Material Fact #1 above, the cadet

training exercise was not “facility-wide” because only two of five housing units were searched.

Exhibit 1, Reynolds Dep at 36:18-22, 45:3-15, 70:15-21; Exhibit 2, 2013 Pasley Dep. at 7:1-10,

57:22-58:3; Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown at ¶2; Id., Decl.

of Beverly Throgmorton at ¶2.

        3.     Denied. Pasley testified that this was a training exercise, and that one reason for

the cadets being involved was to provide them with experience, meaning one purpose was for

training. Exhibit 2, 2013 Pasley Dep. at 7:1-10, 76:16-77:8. Pasley testified that the “overall

goal” was to remove and stop contraband. Pasley further testified that people outside the training

academy decided where the cadets go and what the cadets do, but the cadets and training staff

arrive with the purpose of finding contraband, and “then under the direction of the facility staff

that’s where we go into.” Id. at 75:9-20.) The purpose of having cadets conduct mass

shakedowns is “training driven,” and for no other reason. Exhibit 4, Yurkovich Dep. at 19:3-9

(“Q: Am I correct to say that the purpose of having the cadets conduct a mass shakedown was to

train them? A: Yes. Q: Were there any other reasons that they conducted mass shakedowns

during the training? A: No. It’s training driven.”); Exhibit 5, Zavala Dep. at 11:22-12:17 (“So it’s



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for training, correct? A: For training, absolutely. Q: Is it for anything else or primarily for

training cadets? A: It’s for training.”). The March 31, 2011 cadet training exercise was not driven

by concerns regarding Lincoln's institutional security or employee or inmate safety. Exhibit 6,

Hulett Dep. at 76:11-15 ("Question:. . . . Can you think of any reason other than the training of

cadets that you ordered a shakedown on March 31st, 2011, at the Lincoln facility? Answer: I

cannot."); see also id. at 91:1-9 ("If it was something major that was going on . . . I would think

that, you know, I would be able to recall that."); Exhibit 7, Hatfield Dep. at 51:19-23.

        Defendant Reynolds has stated that he requested the cadet training exercise because of an

increase in contraband and assaults by prisoners of other prisoners and staff. Exhibit 1, Reynolds

Dep. at 12:7-14, 17:1-9. However, the monthly reports regarding inmate management data show

low levels of contraband and assaults in January 2011, February 2011, and March 2011 as

compared with previous months. See Exhibit 8, Inmate Management Data, Affidavit, and Inmate

Management Reports.

        5.      Denied in part. Pasley testified that having cadets conduct strip searches furthers

two goals: stopping contraband from being introduced, and training. Exhibit 2, 2013 Pasley Dep.

at 76:16-77:8. Numerous other IDOC employees testified that the sole purpose of the mass

shakedowns was for training. Exhibit 4, Yurkovich Dep. at 19:3-9 (“Q: Am I correct to say that

the purpose of having the cadets conduct a mass shakedown was to train them? A: Yes. Q: Were

there any other reasons that they conducted mass shakedowns during the training? A: No. It’s

training driven.”); Exhibit 5, Zavala Dep. at 11:22-12:17 (“So it’s for training, correct? A: For

training, absolutely. Q: Is it for anything else or primarily for training cadets? A: It’s for

training.”). The March 31, 2011 cadet training exercise was not driven by concerns regarding

Lincoln's institutional security or employee or inmate safety. Exhibit 6, Hulett Dep. at 76:11-15



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("Question:. . . . Can you think of any reason other than the training of cadets that you ordered a

shakedown on March 31st, 2011, at the Lincoln facility? Answer: I cannot."); see also id. at

91:1-9 ("If it was something major that was going on . . . I would think that, you know, I would

be able to recall that."); Exhibit 7, Hatfield Dep. at 51:19-23.

       6.      Denied in part. Pasley testified that cadet classes had four weeks of training in

report writing, strip searches, communication skills, and then right before the actual shakedown

had a short briefing on basic report writing skills, shakedown procedures, handcuffing

procedures, and “verbal aspects of professionalism.” Exhibit 2, 2013 Pasley Dep. at 9:16-10:16.

       7.      Denied. Pasley testified that the training academy talked to the Chief of

Operations about “where they would like us to go for these searches,” not what facilities needed

a shakedown. Exhibit 2, 2013 Pasley Dep. at 7:11-19.

       8.      Denied. Pasley’s deposition never provided a basis for his knowledge of what the

Chief of Operations was thinking when they made decisions, so his opinion is inadmissible and

lacking foundation. Moreover, Pasley testified that to determine where to send training cadets for

searches the Chief of Operations considered (1) travel limitations based on location and weather;

(2) current issues that gave certain facilities a specific need; (3) inmate intelligence; and (4) need,

“such as the fact that maybe it hadn’t been done for a specific amount of time.” Exhibit 2, 2013

Pasley Dep. at 8:7-18.

       10.     Admitted in part, denied in part. Deny that this was a facility-wide shakedown,

since only some living units were searched. Exhibit 2, 2013 Pasley Dep. at 7:1-10.

       11.     Denied. Routine shakedowns and tactical team shakedowns are not typically

accompanied by strip searches. Exhibit 6, Hulett Dep. at 74:11-75:13; Exhibit 1, Reynolds Dep.

at 27:10-19, 32:14-33:3.



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       13.     Admitted in part and denied in part. Pasley testified that cadets were told to look

for expired medication and “general nuisance contraband such as, you know, too many sheets,

too much commissary, things along that line.” Exhibit 2, 2013 Pasley Dep. at 38:18-39:4.

       16.     This statement of fact is so vague and poorly defined that it cannot be admitted or

denied. Mr. Zavala testified that it was possible to search cellmates one at a time, but if there

were time constraints, “time is not on your side.” Mr. Zavala therefore testified that saving time

might impact whether to search cellmates together or separately, but did not testify to “time

constraints” impacting the method of searching beyond that situation. Exhibit 5, Zavala Dep. at

58:6-22.

       17.     Denied. Pasley testified that the faster a strip search is conducted, “the less of a

burden we create on the offenders, it lessens the burden on the staff who have to deal with the

offender.” Exhibit 2, 2013 Pasley Dep. at 93:3-23. Pasley was therefore testifying that the faster

the shakedown, the more human because it lessened the burden on staff who have to deal with

the inmates. Id.

       19. This statement is vague and ambiguous and therefore impossible to admit or deny. It

is unclear what is meant in this statement by “subject to discipline.” Plaintiffs admit that IDOC

policies prohibit making rude or derogatory comments to an inmate. However, in the search at

issue in this case, correctional staff made numerous rude and derogatory comments to inmates.

During the strip searches, correctional staff made demeaning references to gender and sexually

derogatory insults, such as calling the plaintiffs “bitches” and “dirty bitches” and remarking: “No

man wants to be with you because you smell like death.” See, e.g., Exhibit 9, 2013 Class

Member Declarations at P98 (Decl. of Teresa Williams, ¶7), P34 (Decl. of Stacey Bennick, ¶7),

P36 (Decl. of Iesha Brown, ¶7), P64 (Decl. of Jacqueline Hegwood, ¶7), P66 (Decl. of Delores



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Henry, ¶7), P68 (Decl. of Amanda Hunt, ¶7). Correctional staff including Defendant Slater made

derogatory comments and gestures about Plaintiffs’ bodies and odors during the strip searches.

See, e.g., Exhibit 3, 2015 Class Member Declarations, Decl. of Beverly Throgmorton at ¶22;

Exhibit 9, 2013 Class Member Declarations at P44, Declaration of Michelle Clopton (“I

remember the corrections officers making rude comments about some of the women’s body

odors, weight, and personal appearance”); P60, Declaration of Tina Grobe (“Your pussy

stinks.”); P88, Declaration of Shawna Turner (“These women are nasty and they smell.”); P98,

Declaration of Teresa Williams (“These bitches stink.”); P46, Declaration of Amanda Conne

(“You all are fucking disgusting.”); P90, Declaration of Joanne Wade (“I can’t believe women

smell like this.”). During the strip searches, Defendant Crudup put a cloth over her mouth and

made comments like, “you bitches stink.” Exhibit 3, 2015 Class Member Declarations, Decl. of

Ieshia Brown at ¶18, Decl. of Beverly Throgmorton at ¶22 (“One of the corrections officers put

some sort of cloth over her nose and mouth and made insulting comments about the odor of

women being strip searched.”). Despite this, not a single cadet, corrections officer, training

specialist, or administrator raised and reported concerns during the March 2011 cadet training

exercise at Lincoln. Exhibit 1, Reynolds Dep. at 116:21-117:6; Exhibit 7, Hatfield Dep. at 61:23-

63:1. No internal investigation was completed of the March 2011 cadet training exercise, and not

a single employee received any discipline in connection with the cadet training exercise. Exhibit

1, Reynolds Dep. at 116:10-16; Exhibit 7, Hatfield Dep. at 44:22-24, 45:11-46:3, 62:19-23.

Under Defendant Hulett’s leadership of Lincoln, no correctional officers were ever disciplined

for conduct during a shakedown. Exhibit 6, Hulett Dep. at 58:7-10. Thus, no correctional officer

or training cadet involved in this search (or in any search under Defendant Hulett’s leadership of

Lincoln) was subject to discipline.



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       20.     Denied. Pasley testified that he learned about concerns about the way these

searches were conducted based on the John Howard Association investigation. Exhibit 2, 2013

Pasley Dep. at 65:15-24. Plaintiff admits that Pasley testified he did not receive any formal

complaints from inmates at Lincoln Correctional Center.

       21.     Admitted in part and denied in part. Plaintiffs admit that during cadet training,

cadets received four weeks of training covering report writing, strip searches, communication

skills. Exhibit 2, 2013 Pasley Dep. at 9:16-10:16. Plaintiffs deny that cadets received training on

professionalism at the cadet training exercise itself. Defendant Reynolds’ briefing to the cadet

class was about what cadets were looking for, and had no mention of professionalism. Exhibit 2,

2013 Pasley Dep. at 38:18-39:10 (“the specifics of [the briefing given by Defendant Reynolds]

was basically thank you for coming and the fact that they were looking specifically for expired

medication, medication that wasn’t in its original container, and just general nuisance contraband

such as, you know, too many sheets, too much commissary, things along that line”). Officer

Slater also demonstrated for cadets how to apply handcuffs before the cadets practiced on the

prisoners. Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown ¶5. And regardless

of whatever cadets were instructed about how to practice professionalism, during the shakedown

numerous correctional officers modeled for cadets the making of rude and derogatory comments

to inmates. During the strip searches, correctional staff made demeaning references to gender

and sexually derogatory insults, such as calling the plaintiffs “bitches” and “dirty bitches” and

remarking: “No man wants to be with you because you smell like death.” See, e.g., Exhibit 9,

2013 Class Member Declarations at P98 (Decl. of Teresa Williams, ¶7), P34 (Decl. of Stacey

Bennick, ¶7), P36 (Decl. of Iesha Brown, ¶7), P64 (Decl. of Jacqueline Hegwood, ¶7), P66

(Decl. of Delores Henry, ¶7), P68 (Decl. of Amanda Hunt, ¶7). Correctional staff including



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Defendant Slater made derogatory comments and gestures about Plaintiffs’ bodies and odors

during the strip searches. See, e.g., Exhibit 3, 2015 Class Member Declarations, Decl. of Beverly

Throgmorton at ¶22; Exhibit 9, 2013 Class Member Declarations at P44, Declaration of Michelle

Clopton (“I remember the corrections officers making rude comments about some of the

women’s body odors, weight, and personal appearance”); P60, Declaration of Tina Grobe (“Your

pussy stinks.”); P88, Declaration of Shawna Turner (“These women are nasty and they smell.”);

P98, Declaration of Teresa Williams (“These bitches stink.”); P46, Declaration of Amanda

Conne (“You all are fucking disgusting.”); P90, Declaration of Joanne Wade (“I can’t believe

women smell like this.”). During the strip searches, Defendant Crudup put a cloth over her

mouth and made comments like, “you bitches stink.” Exhibit 3, 2015 Class Member

Declarations, Decl. of Ieshia Brown at ¶18, Decl. of Beverly Throgmorton at ¶22 (“One of the

corrections officers put some sort of cloth over her nose and mouth and made insulting

comments about the odor of women being strip searched.”).

       22.     Denied. Pasley testified that the IDOC policy was to take the person to be

searched to a private area. Pasley testified that he interpreted that statement to mean “to remove

them to an area in which it’s as private as possible.” Exhibit 2, 2013 Pasley Dep. at 72:16-73:13.

       24.     Denied. This statement of fact, as written, is vague and unclear as to whether

Defendants are referring to IDOC policies or practices. Plaintiffs vehemently deny that male

cadets do not participate in conducting strip searches of female inmates. Zavala testified that this

did occur in emergency situations. Exhibit 5, Zavala Dep. at 29:24-30:2. Moreover, numerous

witnesses testified in this case to observing or experiencing male cadets and male correctional

officers being present for the strip searches of female inmates. Exhibit 3, 2015 Class Member

Declarations, Decl. of Ieshia Brown at ¶14; Exhibit 3, 2015 Class Member Declarations, Decl. of



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Beverly Throgmorton, at ¶16; Exhibit 9, 2013 Class Member Declarations at P33 (Decl. of

Stacey Bennick, ¶3 (“The strip search took place in full view of people who were not performing

the actual strip search, including male corrections officers, IDOC training academy cadets,

civilians, and other inmates . . . . I remember seeing male corrections officers in the gym looking

at me as I was being strip searched.”); Exhibit 6, Hulett Dep. at 125:18-23. Exhibit 3, 2015 Class

Member Declarations, Decl. of Beverly Throgmorton, at ¶17.

       26.     Denied. The statement of fact, as written, is vague and unclear as to what “search”

is being referred to (“Inmates who are menstruating would remove any sanitary devices during

the search.”) Plaintiffs admit that during the search that was conducted in this case, women were

forced to remove tampons during the search. The cited reference does not support the statement

if this is intended to refer to what IDOC policy is in these situations – Mr. Pasley claimed in the

cited deposition pages that he had never conducted a search with a female inmate so it was “hard

to know” exactly how these searches were conducted, and he was unsure whether the inmate

would remove their own tampon or whether staff would do so (he placed a “guess” that women

would do it themselves). Exhibit 2, 2013 Pasley Dep. at 130:23-31:24.

       27.     As with number 26 above, this statement of fact, as written, is vague and unclear

as to whether it refers to IDOC policy or to how the search in this case was conducted. Further,

the cited reference does not support the statement if this is intended to refer to IDOC policy on

strip searches. Alan Pasley testified in his deposition that the searching of women who were

menstruating was “not an area that [he] had to deal with a whole lot.” Exhibit 2, 2013 Pasley

Dep. at 132:12-18. He further testified that after a strip search was finished, tampons or pads

“should be present in the area and if staff would observe the need they should be contacting

someone to get it,” which implies the policy is for staff to determine whether there is a need for a



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tampon or a pad. Id. at 132:19-33:9. Felipe Zavala also did not testify that menstruating inmates

are allowed to replace a sanitary device after a strip search. He testified instead that tampons and

feminine napkins were not available within cells and instead were in offices because there was

“abuse” with some of those items, but that they were available “for when they do need them.”

Exhibit 5, Zavala Dep. at 32:5-13. All Mr. Zavala testified to was that these products were

available after a search, but not that there was a policy that inmates be allowed to replace them.

Id.

       28.     Denied. The cited reference does not support the statement. Pasley testified on the

cited page that there were ordinary correctional officers as well as tactical unit members who

escorted the women as they were moving from the housing units to the gym. Exhibit 2, 2013

Pasley Dep. at 104:9-12. He did not testify that those correctional officers or tactical units were

necessarily present in either the living areas or the gym.

       29.     Denied. Defendant Pasley testified that he accompanied the cadets as they

transported prisoners to the gym. Exhibit 23, 2015 Pasley Dep. at 7:6-13, 9:16-21.

       30.     Denied. The cited reference does not support the statement. Pasley testified on the

cited page that he “did not recall specifics as to who remained and who returned” but testified

that “typically what occurs” would be that some cadets would conduct a strip search and other

cadets would return to search the living areas.” Exhibit 2, 2013 Pasley Dep. at 126:1-13. He

repeated on this page several times that his theory was “strictly speculation” because he did not

recall what happened that day and because he was not in the gymnasium. Id.

       31.     Denied. The citation, apparently to the whole of Defendant Slater’s and

Defendant Edmonson’s responses to Plaintiffs’ First Set of Interrogatories, does not support the

statement. Both Slater and Edmonson recalled specific people present escorting inmates, in the



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housing units, and in the gymnasium, but both testified that they were “unable to remember

every individual who was present for the searches.” Dckt. 103-8, (Exhibit D Part 1 at 2; Dckt.

103-9, Exhibit D Part 2 at 2.)

       33.     As with numbers 26 and 27 above, this statement is so vague that it can neither be

admitted nor denied. It is not clear whether this statement refers to IDOC policies, IDOC

practices, practices and/or policies at Lincoln Correctional Center, or some other circumstances.

Mr. Pasley did testify in his deposition that after August or September of 2012, IDOC

implemented a training academy policy to remove all opposing gender of cadets from an area

when a search was being conducted. Mr. Pasley testified that this was not a change in training or

policy, but “the procedure and the manner in which we do it and a lot of it . . . came about also

from the enactment of Pria [sic].” Exhibit 2, 2013 Pasley Dep. at 145:4-46:4.

       34.     Denied. The cited reference does not support the statement. Mr. Zavala testified in

his deposition that “it was constantly preached” that searches should be of the same gender (a

male strip searching a male or a female strip searching a female) and that the opposite gender

would be there to assist in cases of emergency. Exhibit 5, Zavala Dep. at 29:4-30:16. Mr. Zavala

did not explain when or where this was “preached.”

III.   Disputed Immaterial Facts

       14.     This statement of fact is so vague and poorly defined that it cannot be admitted or

denied. It is unclear whether this statement is meant to refer to whether it is IDOC’s policy to

allow inmates to be strip searched more than one at a time, which Plaintiff admits, or whether

this at times occurred at IDOC, which Plaintiff also admits, or to some other situation. It is also

immaterial whether IDOC at times, searches inmates in a strip search more than one at a time




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because it has no relevance to what occurred during these searches or whether the searches that

occurred in this case violated the constitutional rights of the Plaintiffs and class members.

       15.     Denied in part. Pasley testified that the construction of the facility would dictate

how IDOC handled searching multiple individuals at the same time. He testified that how many

people were searched together depended on the situation because it “can be a situation in which

it’s a[s] [sic] a few as two individuals within a cell together all the way to situations in which we

end up in a gymnasium setting where it may be five to ten people together.” Exhibit 2, 2013

Pasley Dep. at 61:8-16. Thus, it is not the construction of the facility that dictates the number of

people searched together, but the search situation. Regardless, this is immaterial. The

circumstances in which IDOC searched multiple people together has no relevance to what

occurred during these searches or whether the searches that occurred in this case violated the

constitutional rights of the Plaintiffs and class members.

IV.    Undisputed Immaterial Facts

       4.      Admitted, but immaterial. That the removal of certain types of contraband makes

an institution, to varying degrees, safer, does not establish that the searches that were conducted

here did not violate the constitutional rights of the Plaintiffs and class members.

       12.     Admitted, but immaterial. Whether IDOC at times conducts unclothed searches in

conjunction with a search of a living area during a mass shakedown has no relevance to what

occurred during these searches or whether the searches that occurred in this case violated the

constitutional rights of the Plaintiffs and class members.




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                     PLAINTIFFS’ ADDITIONAL MATERIAL FACTS

                                Classes and Class Representatives

       1.      Plaintiff Class I consists of all women who were subjected to the March 31, 2011

public group strip search at Lincoln Correctional Center (“Lincoln”). Order of July 29, 2013, at

3, Dkt. No. 68 (certifying Class I). Class I challenges the constitutionality of the March 31, 2011

public group strip search and seeks damages. Id. The class representatives are Beverly

Throgmorton, Delores Henry, Patricia Phillips, Jacqueline Hegwood, Sandra Brown, and Ieshia

Brown. Id.

       2.      Plaintiff Class I is divided into two subclasses. Order of July 29, 2013, at 3, Dkt.

No. 68 (certifying Class I). Subclass A consists of all individuals who were subjected to the

March 31, 2011 public group strip search at Lincoln, and who have remained in the custody of

the Illinois Department of Corrections (“IDOC”) since that time. Id. Subclass B consists of all

individuals who were subjected to the March 31, 2011 public group strip search at Lincoln, and

who were subsequently released from the custody of the Illinois Department of Corrections. Id.

       3.      Plaintiff Class II consists of all women who are currently incarcerated at Logan

Correctional Center (“Logan”), and all women who will be incarcerated at Logan in the future.

Order of Oct. 21, 2014, at 12-13, Dkt. No. 87 (certifying Class II). Class II seeks injunctive

relief. Id. Named plaintiffs Sandra Brown and Iesha Brown represent this class. Id

       4.      Plaintiff Beverly Throgmorton was incarcerated at Lincoln on March 31, 2011,

and was one of the women in Housing Unit 2B that was subjected to a group strip search.

Exhibibt 3, 2015 Class Member Declarations, Decl. of Beverly Throgmorton at ¶1; Exhibit 9,

2013 Class Member Declarations at P83-86 (Decl. of Beverly Throgmorton at ¶¶ 1, 10).




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       5.      Plaintiff Ieshia Brown is a prisoner at Logan. On March 31, 2011, Ms. Brown was

an inmate at Lincoln, and she was one of the women in Housing Unit 2B who was subjected to a

group strip search. In 2013, Ms. Brown was transferred to Logan because Lincoln was converted

to an all-male facility. On October 31, 2013, while incarcerated at Logan, Ms. Brown was strip

searched during another “cadet training exercise.” Exhibit 3, 2015 Class Member Declarations,

Decl. of Ieshia Brown at ¶¶ 1, 31-32.

       6.      Plaintiff Delores Henry was incarcerated at Lincoln on March 31, 2011, and was

one of the women in Housing Unit 2B that was subjected to a group strip search. Exhibit 9, 2013

Class Member Declarations at P65-66 (Decl. of Delores Henry at ¶¶1, 10).

       7.      Plaintiff Patricia Phillips was incarcerated at Lincoln on March 31, 2011, and was

one of the women in Housing Unit 2B that was subjected to a group strip search. Exhibit 9, 2013

Class Member Declarations at P79-80 (Decl. of Patricia Phillips at ¶¶1, 9).

       8.      Plaintiff Jacqueline Hegwood was incarcerated at Lincoln on March 31, 2011, and

was one of the women in Housing Unit 2B that was subjected to a group strip search. Exhibit 9,

2013 Class Member Declarations at P63-64 (Decl. of Jacqueline Hegwood at ¶¶ 1, 10).

       9.      On or about March 31, 2011, Lincoln was a prison operated by the Illinois

Department of Corrections (“IDOC”) that housed female inmates. At all times relevant to this

case, Lincoln was a medium security prison and housed approximately one thousand women.

Exhibit 10, Monitoring Visit to Lincoln Correctional Center, John Howard Association of Illinois

(P4-27) at P4; Exhibit 6, Hulett Dep. at 28:17-29:4.

       10.     Logan is a multiple security level female facility of IDOC that houses

approximately two thousand women. Exhibit 11, John Howard Association Special Prison

Monitoring Report, Logan Correctional Center 2013-14 at P99-137.



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                                           Defendants

       11.     At the time of the March 31, 2011 cadet training exercise, Defendants Melody

Hulett and Russell Reynolds were, respectively, the Warden and Assistant Warden of Operations

at Lincoln. Exhibit 6, Hulett Dep. at ¶6:1-9; Exhibit 1, Reynolds Dep. at 5:23-6:4.

       12.     At the time of the March 31, 2011 cadet training exercise, Defendants Alan

Pasley and Renee Hatfield were training specialists from the Illinois Department of Corrections

training academy that accompanied the cadets during the exercise. Exhibit 2, 2013 Pasley Dep. at

18:12-21, 5:2-5; Exhibit 7, Hatfield Dep. at 10:16-20; Exhibit 12, IDOC Staff Assignment Sheet,

March 28-April 1, 2011 at Def 304.

       13.     At the time of the March 31, 2011 cadet training exercise, Defendant Troy Dawdy

and Defendant Craig were, respectively, the commander and assistant commander of the tactical

team at Lincoln. Exhibit 1, Reynolds Dep. at 11:3-5, 85:19-86:3; Exhibit 13, Defendant

Johnson’s Responses to Plaintiffs’ First Set of Interrogatories at No. 7; Exhibit 14, March 29,

2011 Memo from Lt. Dawdy at Def. Bates 34. The tactical team at Lincoln was referred to as

“Orange Crush.” Exhibit 2, 2013 Pasley Dep. at 105:12-14.

       14.     At the time of the March 31, 2011 cadet training exercise, Defendant Correctional

Officers Carlita Edmonson, Kim Johnson, Peter Leonetti, Paul Pfeiffer, Monica Slater, and Krull

were members of the tactical team at Lincoln who participated in the March 31, 2011 cadet

training exercise (hereinafter, “Defendant Orange Crush Officers”). Exhibit 15, Institutional

Tactical Training Roster at Def. Bates 35-36; Exhibit 16, Lincoln Daily Roster at Def. Bates 37-

44; Exhibit 1, Reynolds Dep. at 35:14-21; Exhibit 2, 2013 Pasley Dep. at 105:12-14.

       15.     At the time of the March 31, 2011 cadet training exercise, Defendant Correctional

Officers Benny Dallas, Abraham Anderson, Dominique Crudup, Butler, and Spaniol were



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correctional officers at Lincoln who participated in the March 31, 2011 cadet training exercise

(hereinafter, “Defendant Correctional Officers”). Exhibit 1, Reynolds Dep. at 42:23-43:4, 61:9-

14 (Dallas); Exhibit 17, Grievances from strip search at Def. Bates 318 (Anderson); Exhibit 18,

Defendant Anderson’s Responses to Plaintiffs’ First Set of Interrogatories at No. 2 (Crudup);

Exhibit 19, Defendant Crudup’s Responses to Plaintiffs’ First Set of Interrogatories at No. 2

(Spaniol); Exhibit 20, Defendant Pfeiffer’s Responses to Plaintiffs’ First Set of Interrogatories at

No. 2 (Butler).

       16.        The defendants to Plaintiffs’ official capacity claims are Felipe Zavala, the current

IDOC Training Academy Manager of Staff Development and Training; Michael Atchison, the

current IDOC Deputy Chief of Operations; and Christine Brannon, the current warden of Logan.2

Exhibit 5, Zavala Dep. 6:18-22; Exhibit 21, IDOC website page on Michael Atchison, available

at: https://www.illinois.gov/idoc/aboutus/Pages/OperationsSecurityDirector.aspx; Exhibit 22,

IDOC website page on Logan Correctional Center, available at

https://www.illinois.gov/idoc/facilities/Pages/logancorrectionalcenter.aspx.

                      Preparations for the March 2011 Cadet Training Exercise

       17.        On March 31, 2011, approximately 200 women were handcuffed and subjected to

group strip searches by cadets as part of a “cadet training exercise” for IDOC cadets at Lincoln.

Exhibit 6, Hulett Dep. at 70:21-24, 88:8-12; Exhibit 1, Reynolds Dep. at 12:2-6, 72: 3-7; Exhibit

7, Hatfield Dep. at 9:11-14; Exhibit 23, 2015 Pasley Dep. at 6:17-21, 11:4-17.

       18.        Defendant Warden Hulett authorized the cadet training exercise. Exhibit 6, Hulett

Dep. at 75:14-6, 78:14-18, 100:14-20; Exhibit 1, Reynolds Dep. at 16:2-12.



2
 Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Christine Brannon and Michael
Atchison replace Angela Locke and Joseph Yurkovich, respectively, as defendants to Plaintiffs’
official capacity claims.
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       19.     The March 2011 cadet training exercise was the first and only cadet training

exercise to take place at Lincoln during Defendant Hulett’s and Reynolds’s employment there.

Hulett Dep. 69:19-23, 70:13-24, 71:8-13, 74:5-75:13; Exhibit 1, Reynolds Dep. at 11:20-12:1,

19:24-20:9.

       20.     Defendants Hulett and Reynolds did not create or review an operational plan for

the cadet training exercise. Hulett Dep. at 129:14-130:4; Exhibit 1, Reynolds Dep. at 44:6-45:2.

       21.     The lack of preparation of an operational plan prior to a mass strip search

involving 200 prisoners is well understood by correctional officials to result in abuses. Exhibit

24, Expert Report of Wendy Still at 20.

       22.     The cadets from the IDOC training academy arrived at Lincoln on the morning of

the March 31, 2011 cadet training exercise. Exhibit 7, Hatfield Dep. at 13:10-17.

       23.     Defendant Pasley was the cadets’ primary supervisor during the cadet training

exercise. Exhibit 6, Hulett Dep. at 79:20-80:12, 84:7-15, 94:10-95:3.

       24.     Defendant Dawdy instructed the Orange Crush tactical team to report for duty on

the morning of March 31, 2011, and to arrive in “[p]roper dress.” Exhibit 14, March 29, 2011

Memo from Lt. Dawdy at Def. Bates 34. Pursuant to his instruction, Defendants Edmonson,

Johnson, Leonetti, Pfeiffer, Craig, Slater, and Krull arrived in full riot gear, with helmets, vests,

military boots, batons, pepper spray, and shields. Exhibit 3, 2015 Class Member Declarations,

Decl. of Ieshia Brown at ¶¶2-3; Id., Decl. of Beverly Throgmorton at ¶¶2-3; Exhibit 1, Reynolds

Dep. at 67:2-3.

       25.     Prior to the start of the cadet training exercise, Defendants Hulett, Reynolds,

Dawdy, Pasley, the Defendant Orange Crush Members, and other correctional officers held a



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briefing with the cadets in the dietary hall at which instructions were provided. Exhibit 1,

Reynolds Dep. at 69:14-70:3; Exhibit 2, 2013 Pasley Dep. at 38:9-17, 58:23-59:11; Exhibit 6,

Hulett Dep. at 85:9-13.

       26.       Correctional facilities are extremely hierarchical, paramilitary organizations that

function based on a tight command structure. Exhibit 24, Expert Report of Wendy Still at 21.

                          The March 2011 Cadet Training Exercise Begins

       27.       Defendants Reynolds, Dawdy, the Defendant Orange Crush Members, and other

correctional officers, along with the cadets, stormed the B wings of Housing Units 2 and 4 at

Lincoln. Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown at ¶2; Id., Decl. of

Beverly Throgmorton at ¶2; Exhibit 1, Reynolds Dep. at 70:15-21. Exhibit 2, 2013 Pasley Dep.

at 57:22-58:3.

       28.       Defendant Reynolds instructed the Lincoln staff, including Defendant Dawdy,

during the cadet training exercise. Exhibit 6, Hulett Dep. at 85:6-14; Exhibit 1, Reynolds Dep. at

85:9-86:3.

       29.       Defendants Dawdy and Craig gave orders to the tactical team members. Exhibit 1,

Reynolds Dep. at 11:3-5, 85:19-86:3; Exhibit 13, Defendant Johnson’s Responses to Plaintiffs’

First Set of Interrogatoriesat No. 7; Exhibit 14, March 29, 2011 Memo from Lt. Dawdy at Def.

Bates 34.

       30.       As they entered the housing units, tactical team members including Defendants

Dawdy and Johnson banged their batons on the walls, doors, and in their hands, in a threatening

manner. Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown at ¶4; Exhibit 3,

2015 Class Member Declarations, Decl. of Beverly Throgmorton, at ¶4.




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       31.     Corrections officers including Defendants Reynolds, Dawdy, and Johnson lined

the women prisoners up in rows and forced them to stand facing the wall. Exhibit 3, 2015 Class

Member Declarations, Decl. of Beverly Throgmorton, at ¶5.

       32.     Correctional officers including Defendants Reynolds, Johnson, Edmonson, and

Slater called the women “bitches” and threatened to put them in segregation if they did not

remain quiet. Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown at ¶¶4, 8.

       33.     Cadets performed a pat down search of all of the prisoners, making them take off

their shoes and empty their pockets. Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia

Brown at ¶6; Exhibit 3, 2015 Class Member Declarations, Decl. of Beverly Throgmorton, at ¶6;

Exhibit 1, Reynolds Dep. at 71:9-13, 123:2-8.

       34.     Cadets practiced the application of handcuffs tightly handcuffed each prisoner’s

hands behind her back. Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown at

¶¶5, 9; Exhibit 3, 2015 Class Member Declarations, Decl. of Beverly Throgmorton, at ¶¶7-9;

Exhibit 1, Reynolds Dep. at 70:22-71:17; Exhibit 2, 2013 Pasley Dep. at 101:17-102:14.

       35.     In Plaintiff Ieshia Brown’s room in Housing Unit 2B, Officer Slater first

demonstrated for the cadets how to apply handcuffs, and then they practiced on the prisoners.

Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown ¶5.

       36.     The handcuffs were brought in from outside Lincoln and were typically used for

transporting prisoners on buses. Exhibit 2, 2013 Pasley Dep. at 98:16-99:2.

       37.     The combination of being forced to stand for so long while being handcuffed

reduced elderly prisoners to tears. Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia

Brown ¶7.




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       38.      One prisoner informed corrections officers that she could not be handcuffed due

to a shoulder disability, but a tactical officer placed her in handcuffs anyway, reducing her to

tears. Exhibit 3, 2015 Class Member Declarations, Decl. of Beverly Throgmorton, at ¶7.

       39.      In addition to being painful, the handcuffs were humiliating, since prisoners are

typically handcuffed at Lincoln only when they are being taken to the segregation unit for

committing a serious violation of prison rules. Exhibit 3, 2015 Class Member Declarations, Decl.

of Beverly Throgmorton, at ¶7.

       40.      Corrections officers and cadets marched the handcuffed prisoners to the gym.

Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown at ¶9; Exhibit 3, 2015 Class

Member Declarations, Decl. of Beverly Throgmorton, at ¶9; Exhibit 1, Reynolds Dep. at 54:11-

19, 70:22-71:17.

       41.      Defendant Pasley went with the cadets to the housing units and accompanied

them as they transported prisoners to the gym. Exhibit 23, 2015 Pasley Dep. at 7:6-13, 9:16-21.

       42.      The women were not told why they had been placed in handcuffs, where they

were going, or for what purpose. Exhibit 9, 2013 Class Member Declarations at P33 (Decl. of

Stacey Bennick, ¶2), P35 (Decl. of Ieshia Brown, ¶2), P37 (Decl. of Krysta Burton, ¶2), P39

(Decl. of Brandy Camareno, ¶2), P41 (Decl. of Carrie Clanton, ¶2), P43 (Decl. of Michelle

Clopton, ¶2).

       43.      In the housing units and on the way to the gym, corrections officers screamed

obscenities at the women, called them sexually derogatory names, threatened to put them in

segregation if they did not cooperate, and made other threats. Exhibit 3, 2015 Class Member

Declarations, Decl. of Beverly Throgmorton, at ¶9; Exhibit 3, 2015 Class Member Declarations,

Decl. of Ieshia Brown at ¶8; Exhibit 9, 2013 Class Member Declarations at P33-34 (Decl. of



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Stacey Bennick, ¶7), P37-38 (Decl. of Krysta Burton, ¶7), P39-40 (Decl. of Brandy Camareno,

¶7), P43-44 (Decl. of Michelle Clopton, ¶8).

        44.    The prisoners were all compliant. Exhibit 3, 2015 Class Member Declarations,

Decl. of Beverly Throgmorton, at ¶10; Exhibit 9, 2013 Class Member Declarations at P33 (Decl.

of Stacey Bennick, ¶2), P38 (Decl. of Krysta Burton, ¶2), P39 (Dec. of Brandy Camareno, ¶2;

Exhibit 1, Reynolds Dep. at 63:8-65:2.

        45.    Once in the gym, correctional officers including Defendant Johnson forced the

women to stand facing the wall, shoulder to shoulder. Exhibit 1, Reynolds Dep. at 71:9-20, 75:6-

13; Exhibit 3, 2015 Class Member Declaration, Decl. of Ieshia Brown at ¶13; Exhibit 9, 2013

Class Member Declarations at P43 (Decl. of Michelle Clopton, ¶4), P47 (Decl. of Mary

Derixson, ¶4), P57 (Decl. of Anne Marie Getz, ¶4), P71 (Decl. of Millie Lee, ¶4), P77 (Decl. of

Jennifer McWhorter, ¶4), P91 (Decl. of LaDonna Watson, ¶4), P93 (Decl. of Kimberly Welch,

¶93).

        46.    Defendant Hulett went to the gym with the first group of prisoners and stayed

until the strip searches began. When she left, she delegated her responsibility for overseeing the

cadet training exercise to Defendants Reynolds, Pasley, and Dawdy. Exhibit 6, Hulett Dep. at

79:9-23; 94:10-95:3; Exhibit 25, Defendant Hulett’s Responses to Plaintiffs’ First Set of

Interrogatories at No. 2.

          Public Group Strip Searches During the March 2011 Cadet Training Exercise

        47.    The Defendant Orange Crush members and other corrections officers ordered

groups of women ranging in size from approximately four to ten to be strip searched together by

the cadets. Exhibit 3, 2015 Class Member Declarations, Decl. of Beverly Throgmorton, at ¶¶11;

Exhibit 9, 2013 Class Member Declarations at P39 (Decl. of Brandy Camareno, ¶4), P43 (Decl.



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of Michelle Clopton, ¶4), P49 (Decl. of Omayra Figueroa ¶4), P51 (Decl. of Zoraida Flores, ¶4),

P55 (Decl. of Kathy Gaultney, ¶4), P71 (Decl. of Millie Lee, ¶4), P73 (Decl. of Bonnie

McDonald, ¶4); Exhibit 1, Reynolds Dep. at 81:14-20; Exhibit 7, Hatfield Dep. at 17:5-19, 29:3-

30:1.

        48.    Defendant Hatfield was the sole female training instructor present in the gym

during the cadet training exercise to supervise the cadets who conducted strip searches. Exhibit

2, 2013 Pasley Dep. at 18:12-21; Exhibit 7, Hatfield Dep. at 10:16-20, 21:12-23, 33:9-14.

Defendant Hatfield spent most of her time during the cadet training exercise in the gym and in

the bathroom abutting the gym. Exhibit 7, Hatfield Dep. at 18:22-19:12, 66:5-68:16.

        49.    Defendant Benny Dallas also patrolled the gym during the cadet training exercise.

Defendant Reynolds instructed Dallas that the strip searches should take place in the gym

bathroom. Exhibit 1, Reynolds Dep. at 42:23-43:4, 61:9-14.

        50.    The group strip searches were initially performed in a bathroom abutting the gym.

After some time, corrections officers also took women for group strip searches in a beauty shop

abutting the gym. Exhibit 3, 2015 Class Member Declarations, Decl. of Beverly Throgmorton, at

¶14; Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown at ¶11; Exhibit 1,

Reynolds Dep. at 55:24-56:21, 74:18-22.

        51.    It would have been obvious to any person in the gym that group strip searches of

prisoners were taking place in the bathroom and the beauty shop. Exhibit 1, Reynolds Dep. at

142:5-10.

        52.    The bathroom was open to the gym, giving the many male correctional officers

and cadets in the gym clear views of the women strip searched there. Exhibit 3, 2015 Class

Member Declarations, Decl. of Ieshia Brown at ¶14; Exhibit 3, 2015 Class Member



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Declarations, Decl. of Beverly Throgmorton, at ¶16; Exhibit 9, 2013 Class Member Declarations

at P33 (Decl. of Stacey Bennick, ¶3.

       53.    The beauty shop had mirrored walls and a door that remained open for the

duration of the strip searches, subjecting the naked women to stares from male and female

corrections officers and cadets who walked by. The beauty shop also had a window that faced

the outdoors, permitting anyone outside to observe the women as they were being strip searched.

Exhibit 3, 2015 Class Member Declarations, Decl. of Beverly Throgmorton, at ¶17.

       54.    In both settings, the strip searches were conducted in view of many people who

were not performing the actual strip search. Exhibit 9, 2013 Class Member Declarations at P33

(Decl. of Stacey Bennick, ¶3), P35 (Decl. of Ieshia Brown, ¶3), P37 (Decl. of Krysta Burton, ¶3),

P39 (Decl. of Brandy Camareno, ¶3), P41 (Decl. of Carrie Clanton, ¶3), P43 (Decl. of Michelle

Clopton, ¶43), P45 (Decl. of Amanda Conne, ¶3), P47 (Decl. of Mary Derixson, ¶3), P49 (Decl.

of Omayra Figueroa, ¶3), P51 (Decl. of Zoraida Flores, ¶3), P53 (Decl. of Kenlee Funk, ¶3), P55

(Decl. of Kathy Gaultney, ¶3), P57 (Decl. of Anne Marie Getz, ¶3), P59 (Decl. of Tina Grobe,

¶3), P61 (Decl. of Jennifer Hawkins, ¶3), P63 (Decl. of Jacqueline Hegwood, ¶3), P65 (Decl. of

Delores Henry, ¶3), P67 (Decl of Amanda Hunt, ¶3), P69 (Decl. of Cheryl Anne Kalabsa, ¶3),

P71 (Decl. of Millie Lee, ¶3), P73 (Decl. of Bonnie McDonald, ¶3), P75 (Decl. of Michelle

McEntee, ¶3), P77 (Decl. of Jennifer McWhorter, ¶3), P79 (Decl. of Patricia Phillips, ¶3), P81

(Decl. of Marketta Sims, ¶3), P87 (Decl. of Shawna Turner, ¶3), P89 (Decl. of Joanne Wade, ¶3),

P91 (Decl. of LaDonna Watson, ¶3), P93 (Decl. of Kimberly Welch, ¶3), P95 (Decl. of Michelle

Wells, ¶3), P97 (Decl. of Teresa Williams, ¶3).

       55.    The spectators to the strip searches included male corrections officers and cadets

in the gym and walkway outside the beauty shop. See, e.g., Exhibit 9, 2013 Class Member



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Declarations at P33, Declaration of Stacey Bennick; Exhibit 3, 2015 Class Member Declarations,

Decl. of Beverly Throgmorton, at ¶17.

       56.      The spectators to the strip searches included other prisoners. Exhibit 9, 2013 Class

Member Declarations at P71, Declaration of Millie Lee (“I went through the strip search with

approximately 8-10 other women. We were ordered to strip naked as a group. We were forced to

stand so close together that our naked bodies were nearly touching . . . . We had to go through

the entire strip search procedure as a group”), P39, Declaration of Brandy Camareno (“I went

through the strip search with approximately 7-8 other women.”).

       57.      The spectators to the strip searches included a civilian beauty shop employee.

Exhibit 3, 2015 Class Member Declarations, Decl. of Beverly Throgmorton, at ¶¶19-20.

       58.      The spectators to the strip searches included female cadets and female

correctional officers. Exhibit 7, Hatfield Dep. at 32:10-15; 2015 Class Member Declarations,

Decl. of Beverly Throgmorton, at ¶20; Exhibit 7, Hatfield Dep. at 32:10-15, 68:17-20.

       59.      The spectators to the strip searches included training specialist Renee Hatfield.

Exhibit 7, Hatfield Dep. at 9:11-18, 18:22-19:12.

       60.      Women strip searched in groups in the bathroom were forced to remove all of

their clothing and stand in a line. Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia

Brown at ¶13.

       61.      Due to the number of prisoners, cadets, and correctional officers occupying the

cramped bathroom, the naked women were forced to stand nearly shoulder to shoulder. Exhibit

3, 2015 Class Member Declarations, Decl. of Ieshia Brown at ¶13; see also Exhibit 9, 2013 Class

Member Declarations at P38, Decl. of Krysta Burton, ¶4 (“We were forced to stand so close

together that our naked bodies were touching; I could feel the body heat of the women who stood



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next to me and we could barely move without bumping into each other.”); P39, Decl. of Brandy

Camareno, ¶4 (“We were forced to stand so close together that our naked bodies were nearly

touching my elbow was touching the elbow of the woman next to me.”); P41 Decl. of Carrie

Clanton, ¶4 (We were forced to stand so close together that our naked bodies were nearly

touching; I could feel the body heat of the women who stood next to me.”).

       62.     The women were forced to raise their breasts and lift their hair. They were then

forced to turn around, bend over, spread open their buttocks and vaginas, and cough several

times. Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown at ¶16; Exhibit 26,

Personal Search Curriculum (Def. Bates 238-249), at 244-248.

       63.     As they did this, male members of the Orange Crush, correctional officers, and

cadets could, and did, watch them from the gym. Exhibit 9, 2013 Class Member Declarations at

P33-34, Declaration of Stacey Bennick (“The strip search took place in full view of people who

were not performing the actual strip search, including male corrections officers, IDOC training

academy cadets, civilians, and other inmates . . . . I remember seeing male corrections officers in

the gym looking at me as I was being strip searched.”); Exhibit 3, 2015 Class Member

Declarations, Decl. of Ieshia Brown at ¶¶13-15; Exhibit 9, 2013 Class Member Declarations at

P36, Decl. of Iesha Brown (same); Exhibit 9, 2013 Class Member Declarations at P44,

Declaration of Michelle Clopton at ¶8 (“I remember the corrections officers making rude

comments about some of the women’s . . . weight[] and personal appearance”).

       64.     Defendants Reynolds, Dawdy, Anderson, and Pfeiffer were among those males

present in the gym during the time that strip searches were being performed in the bathroom with

an open door. Exhibit 17, Grievances at Def. Bates 318.




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       65.     Named Plaintiff Throgmorton was among the women taken to the beauty shop for

public group strip searches. Exhibit 3, 2015 Class Member Declarations, Decl. of Beverly

Throgmorton, at ¶18-20.

       66.     The civilian beauty shop supervisor was never told to leave, and remained in the

beauty shop for the duration of the strip searches, carrying on casual conversations with

corrections officers and cadets during the group strip searches. Exhibit 3, 2015 Class Member

Declarations, Decl. of Beverly Throgmorton, at ¶¶19-20.

       67.     In the beauty shop, IDOC cadets subjected women to the same strip search

procedure, with breast raising, hair lifting, the squat and coughs, and bending over to expose

private parts. Exhibit 3, 2015 Class Member Declarations, Decl. of Beverly Throgmorton, at ¶19.

       68.     The simultaneous strip search of many women at the same time prolonged the

duration of time each woman was naked. The many prisoners who were strip searched

simultaneously with other women were forced to stand naked in groups, shoulder-to-shoulder,

for periods of as long as fifteen minutes during the group strip searches – far longer than a

typical strip search. Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown at ¶¶16-

17; Exhibit 9, 2013 Class Member Declarations at P34 (Decl. of Stacey Bennick, ¶6).

       69.     Defendants Johnson, Slater, Edmonson, Crudup, and Butler were among the

correctional officers escorting prisoners to the gym and performing strip searches. Defendants

Crudup, Slater, Edmonson and Johnson were ordered to perform the strip searches by Defendant

Dawdy, and Defendant Craig gave further instructions to Defendant Johnson about performing

the strip searches. Exhibit 18, Defendant Anderson’s Responses to Plaintiffs’ First Set of

Interrogatories at No. 2; Exhibit 27, Defendant Edmonson’s Responses to Plaintiffs’ First Set of

Interrogatories at Nos. 2, 7; Exhibit 25, Defendant Hulett’s Responses to Plaintiffs’ First Set of



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Interrogatories at No. 2; Exhibit 20, Defendant Pfeiffer’s Responses to Plaintiffs’ First Set of

Interrogatories at No. 2; Exhibit 28, Defendant Craig’s Responses to Plaintiffs’ First Set of

Interrogatories at No. 2; Exhibit 19, Defendant Crudup’s Responses to Plaintiffs’ First Set of

Interrogatories at Nos. 2, 7; Exhibit 29, Defendant Slater’s Responses to Plaintiffs’ First Set of

Interrogatories at No. 7; Exhibit 13, Defendant Johnson’s Responses to Plaintiffs’ First Set of

Interrogatories at No. 7.

                 Verbal Abuse During the March 2011 Cadet Training Exercise

       70.     During the strip searches, correctional staff made demeaning references to gender

and sexually derogatory insults, such as calling the plaintiffs “bitches” and “dirty bitches” and

remarking: “No man wants to be with you because you smell like death.” See, e.g., Exhibit 9,

2013 Class Member Declarations at P98 (Decl. of Teresa Williams, ¶7), P34 (Decl. of Stacey

Bennick, ¶7), P36 (Decl. of Iesha Brown, ¶7), P64 (Decl. of Jacqueline Hegwood, ¶7), P66

(Decl. of Delores Henry, ¶7), P68 (Decl. of Amanda Hunt, ¶7).

       71.     Correctional staff including Defendant Slater made derogatory comments and

gestures about Plaintiffs’ bodies and odors during the strip searches. See, e.g., Exhibit 3, 2015

Class Member Declarations, Decl. of Beverly Throgmorton at ¶22; Exhibit 9, 2013 Class

Member Declarations at P44, Declaration of Michelle Clopton (“I remember the corrections

officers making rude comments about some of the women’s body odors, weight, and personal

appearance”); P60, Declaration of Tina Grobe (“Your pussy stinks.”); P88, Declaration of

Shawna Turner (“These women are nasty and they smell.”); P98, Declaration of Teresa Williams

(“These bitches stink.”); P46, Declaration of Amanda Conne (“You all are fucking disgusting.”);

P90, Declaration of Joanne Wade (“I can’t believe women smell like this.”).




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       72.     During the strip searches, Defendant Crudup put a cloth over her mouth and made

comments like, “you bitches stink.” Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia

Brown at ¶18, Decl. of Beverly Throgmorton at ¶22 (“One of the corrections officers put some

sort of cloth over her nose and mouth and made insulting comments about the odor of women

being strip searched.”).

   Mistreatment of Menstruating Prisoners During the March 2011 Cadet Training Exercise

       73.     During the strip searches, menstruating prisoners were forced to remove tampons

and feminine sanitary napkins in front of persons in close proximity not conducting the searches,

and dispose of used tampons and sanitary napkins on the floor and in overflowing garbage cans,

in view of others. See Exhibit 9, 2013 Class Member Declarations at P34, Decl. of Stacey

Bennick, ¶5 (“At the time I was on my period and I was forced to remove my tampon in front of

everyone and throw it on the floor in full view of people who were not conducting the strip

search including male corrections officers, IDOC training academy cadets, civilians, and other

inmates.”); P43-44, Declaration of Michelle Clopton, ¶4-5 (“I went through the strip search with

approximately 7-8 other women. We were ordered to strip naked as a group. We were forced to

stand so close together that our naked bodies were nearly touching . . . . One woman on her

period was forced to remove her sanitary napkin in front of everyone and throw it in a garbage

can in full view of people who were not performing the strip search . . . . The garbage can was

overflowing with sanitary napkins and tissue, which had begun piling up on the floor.”); P46,

Declaration of Amanda Conne (Bates 46), ¶5.

       74.     Menstruating women were not given replacement feminine products after the strip

searches. Many of these women got blood on their legs, feet, and clothes. They were then sent

back to the gym to wait until everyone had been strip searched, leading them to bleed through



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their clothing while in the gym. See Exhibit 9, 2013 Class Member Declarations at P34, Decl. of

Stacey Bennick (“After the strip search was over, I was not given a replacement tampon or

sanitary napkin. It was approximately 2 hours before I was able to get another tampon. I bled

through my clothing and felt uncomfortable.”); Exhibit 9, 2013 Class Member Declarations at

P46, Declaration of Amanda Conne ; Exhibit 3, 2015 Class Member Declarations, Decl. of

Beverly Throgmorton, at ¶23 (“One woman strip searched in my group who was menstruating

was ordered to discard her feminine sanitary product in a communal garbage can, in full view of

all of us. After the strip search was over, I heard someone tell her that no sanitary products were

available and that she should just pull her pants back up.”); Exhibit 3, 2015 Class Member

Declarations, Dec. of Ieshia Brown ¶21 (“In the gym, many women were bleeding through their

clothes because they had not been given feminine products after being strip searched.”).

       75.     Defendant Reynolds was the person responsible for ensuring that reissue supplies

of feminine sanitary products were available, but did not provide any. Exhibit 1, Reynolds Dep.

at 100:6-11.

       76.     Throughout the strip searches, the women were forced to stand barefoot on the

bathroom floor, which was dirty with menstrual blood and other bodily fluids. See Exhibit 9,

2013 Class Member Declarations at P34, Declaration of Stacey Bennick, ¶5.

       77.     No Defendant or IDOC employee cleaned the area where the women were

standing. See Exhibit 9, 2013 Class Member Declarations at P34, Declaration of Stacey Bennick,

¶5; Exhibit 9, 2013 Class Member Declarations at P43-44, Declaration of Michelle Clopton, ¶5.




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       78.     The women were not allowed to wash their hands following the strip searches,

even though they had used them to spread their butt cheeks during the strip search. Exhibit 3,

2015 Class Member Declarations, Decl. of Beverly Throgmorton, at ¶24.

                             Forced Standing for Hours While Handcuffed
                            During the March 2011 Cadet Training Exercise

       79.     During the cadet training exercise, prisoners were forced to stand for long periods

of time, first in the dayroom of their housing units, and then in the gym. See 12/14/15 Dec. of

Beverly Throgmorton, ¶¶5-13; 12/23/15 Decl. of Ieshia Brown, ¶¶ 5-9, 19; Reynolds Dep. at

74:13-75:13; 136:9-137:17; 142:19-24.

       80.     Prisoners were forced to stand in the gym, facing the wall, until they had been

strip searched, even though strip searches for two hundred inmates would take a “significant

amount of time” to complete – as many as five to seven hours. Reynolds Dep. at 75:3-13,

136:21-137:13. 12/14/15 Dec. of Beverly Throgmorton, ¶¶5, 11, 13; 12/23/15 Decl. of Ieshia

Brown, ¶19 (“After the strip search, I was ordered to sit on the floor near the bleachers in the

gym. This was the first opportunity I had to sit since the cadet training exercise had begun

approximately four or five hours earlier”).

       81.     The pain of standing for such a lengthy duration was exacerbated by the tight

handcuffs that the cadets had placed on the prisoners. 12/23/15 Decl. of Ieshia Brown at ¶¶5, 9;

12/14/15 Decl. of Beverly Throgmorton, at ¶¶7-9.

       82.     No legitimate penological purpose justified forcing the prisoners to stand for so

long while awaiting strip searches rather than permitting them to sit down. Reynolds Dep. at

136:21-137:13 (stating that “common practice” in corrections is to avoid unnecessarily forcing

inmates to stand for many hours, and that “[i]f they are facing the wall sitting down [sic], they’re

accomplishing the same purpose as standing up.”); Expert Report of Wendy Still, at 17.


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       83.      Defendants Dawdy and Leonetti were among those tactical team members yelling

at the prisoners to face the wall throughout the morning, as they stood awaiting strip searches.

12/14/15 Decl. of Beverly Throgmorton ¶13.

       84.      Defendant Spaniol monitored the handcuffed prisoners in the gym who were

awaiting group strip searches. Crudup INT1 Resp. No. 2.

       85.      Defendants Hulett and Reynolds visited the gym adjacent to which the strip

searches were conducted near the end of the cadet training exercise. Exhibit 1, Reynolds Dep. at

79:3-11. During this visit, prisoners informed Defendant Reynolds that they had been standing

for many hours without having been searched. Exhibit 1, Reynolds Dep. at 79:22-80:5.

         Additional Punitive Characteristics of the March 2011 Cadet Training Exercise

       86.      After each group of women had been strip searched, the women were forced to

wait in the gym until all 200 women had been strip searched. Exhibit 1, Reynolds Dep. at 136:9-

18; Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown at ¶19, Decl. of Beverly

Throgmorton at ¶24.

       87.      The entire incident lasted between five and seven hours. Exhibit 1, Reynolds Dep.

140:13-16; Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown at ¶20, Decl. of

Beverly Throgmorton at ¶12.

       88.      The women were not permitted to use the restroom or get a drink of water at any

time during the entire cadet training exercise. Id.

       89.      Defendant Reynolds, Defendant Hulett, and the Defendant Orange Crush Officers

were among those telling the women they could not sit, get a drink of water, or use the restroom

during the cadet training exercise. Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia

Brown at ¶20.



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       90.     It was past lunch when the cadet training exercise ended. Prisoners were taken

straight to the dining hall to eat, with no opportunity to wash their hands. Many did not feel like

eating after undergoing the group strip searches. Exhibit 3, 2015 Class Member Declarations,

Decl. of Beverly Throgmorton at ¶25, Decl. of Ieshia Brown at ¶22.

       91.     When the prisoners finally arrived back in their rooms, the rooms were destroyed,

with bedding, clothing, property, and food items strewn all over the room, without regard to

whom they belonged to, generating conflict regarding ownership of certain property and missing

items. Exhibit 3, 2015 Class Member Declarations, Decl. of Beverly Throgmorton at ¶25, Decl.

of Ieshia Brown at ¶22.

       92.     Defendant Pasley testified that he did not know who supervised the cadets

conducting strip searches and that he did not oversee the conduct of cadets in the gym. Exhibit

23, 2015 Pasley Dep. at 14:18-22; Exhibit 23, 2015 Pasley Dep. at 11:20-21, 12:2-8; 14:18-22.

                                    IDOC Policy and Practice

       93.     Section 501.220(b)(2) of Title 20 of the Illinois Administrative Code requires that

strip searches of committed persons be “conducted by persons of the same sex as the committed

person and in an area where the search cannot be observed by persons not conducting the search,

except in cases of an emergency.” Ill. Admin. Code tit. 20, § 501.220(b)(2).

       94.     Just ten days prior to the cadet training exercise, Defendant Hulett had addressed

a grievance regarding the strip search of five women in the same area in connection with a prison

job by instructing: “Offenders are not to be strip searched as a collective group. Direction of

proper strip searching will be addressed.” Exhibit 17, Grievances from strip search at Def. Bates

314-18; Exhibit 2, 2013 Pasley Dep. at 135:21-136:3.




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       95.     IDOC practice is to allow prisoners to be strip searched in groups during cadet

training exercises. Defendants admit that IDOC practice permits as many as twenty prisoners to

be strip searched at the same time, in the same setting during cadet training exercises. Exhibit 2,

2013 Pasley Dep. at 138:1-6 (“The only time they should not be searched together would be if

they were opposing gender.”); Exhibit 23, 2015 Pasley Dep. at 20:8-17; Exhibit 1, Reynolds

Dep. at 83:6-84:9.

       96.     IDOC policy prohibits males and female non-participants from observing strip

searches of women prisoners, absent emergency circumstances. Exhibit 1, Reynolds Dep. at

58:18-59:17; Exhibit 2, 2013 Pasley Dep. at 128:14-30:7.

       97.     The Prison Rape Elimination Standards make clear that cross-gender observation

of strip searches violates generally accepted correctional practices. Exhibit 24, Expert Report of

Wendy Still at 10-11.

       98.     IDOC policies and training prohibit the use of degrading and derogatory language

during strip searches. See, e.g., Exhibit 2, 2013 Pasley Dep. at 63:21-64:6; Exhibit 7, Hatfield

Dep. at 41:1-14. IDOC’s policy governing Standards of Conduct – Administrative Directive

03.02.108 – requires IDOC employees to “conduct themselves in a professional manner” and

“not engage in conduct that is unbecoming of a State employee or which will reflect unfavorably

on . . . the Department.” See Exhibit 30, AD 03.02.108(I)(B) (Def. Bates 280); see also Exhibit

31, Professional Conduct Training Curriculum (Bates 250-303).

       99.     When repeated, derogatory and demeaning verbal comments during strip searches

rise to the level of “sexual harassment” pursuant to the Prison Rape Elimination Act Standards.

Exhibit 24, Expert Report of Wendy Still at 13-14.




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       100.    IDOC policy requires implementation of a blood pathogen protocol when surfaces

are contaminated with blood. Exhibit 1, Reynolds Dep at 108:2-24.

       101.    Defendants Hulett, Reynolds, Pasley, and Hatfield were aware of the dignitary

needs of menstruating prisoners, as well as the importance of maintaining hygienic conditions for

all prisoners, and their responsibility as supervisors for ensuring that those needs were

accommodated. Exhibit 1, Reynolds Dep. at 99:17-100:16; Exhibit 2, 2013 Pasley Dep. at

132:19-134:1; Exhibit 7, Hatfield Dep. at 36:14-38:10.

                                        Grievances and Discipline

       102.    Not a single cadet, corrections officer, training specialist, or administrator raised

and reported concerns during the March 2011 cadet training exercise at Lincoln. Exhibit 1,

Reynolds Dep. at 116:21-117:6; Exhibit 7, Hatfield Dep. at 61:23-63:1.

       103.    No internal investigation was completed of the March 2011 cadet training

exercise, and not a single employee received any discipline in connection with the cadet training

exercise. Exhibit 1, Reynolds Dep. at 116:10-16; Exhibit 7, Hatfield Dep. at 44:22-24, 45:11-

46:3, 62:19-23.

       104.    Under Defendant Hulett’s leadership of Lincoln, no correctional officers were

ever disciplined for conduct during a shakedown. Exhibit 6, Hulett Dep. at 58:7-10.

       105.    Dozens of prisoners submitted grievances following the March 31, 2011 cadet

training exercise at Lincoln. Exhibit 9, 2013 Class Member Declarations, Decl. of Stacey

Bennick (P34) (explaining: “Either that night, or the next day I wrote a grievance and put it in

the drop box in my housing unit. The drop box in my housing unit quickly overflowed with

grievances. Finally, I think after a week, the drop box was suddenly emptied. I never received a

response to my grievance.”); Exhibit 9, 2013 Class Member Declarations, Declarations of Iesha



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Brown, Krysta Burton, and Brandy Camareno (P36-40) (same).

          106.   The many prisoners who submitted grievances regarding the March 2011 cadet

training exercise never received any response. See, e.g., Exhibit 9, 2013 Class Member

Declarations, Decl. of Stacey Bennick (P34) (explaining: “Either that night, or the next day I

wrote a grievance and put it in the drop box in my housing unit. The drop box in my housing unit

quickly overflowed with grievances. Finally, I think after a week, the drop box was suddenly

emptied. I never received a response to my grievance.”); Exhibit 9, 2013 Class Member

Declarations, Declarations of Iesha Brown, Krysta Burton, and Brandy Camareno (P36-40)

(same).

          107.   Defendant Reynolds was informed by prisoners that they planned to and had filed

grievances. See, e.g., Exhibit 1, Reynolds Dep. at 90:1891:7 (“I remember talking to offenders

who said they filed grievances, yeah. . . . I mean, I heard them all. I heard them screaming, yeah,

I’m going to file a grievance.”); id. at 91:10-18 (“. . . I had inmates talk to me and say hey, we’re

going to file a grievance, we didn’t like the way it went down”); id. at 92:1-9 (“Most of them

were being shook down in the gym bathroom, something about bare feet.”).

          108.   During a February 2012 monitoring visit to Lincoln by the John Howard

Association, many prisoners independently voiced concerns about the March 2011 cadet training

exercise and the disappearance of their grievances. See Exhibit 10, Monitoring Visit to Lincoln

Correctional Center, John Howard Association of Illinois (P4-27), at P4 (“A troubling alleged

instance of grievances being lost was at Lincoln, where administrators informed JHA they had

been unable to locate a single grievance filed by any inmate regarding a cadet training and strip

search that multiple inmates protested to JHA and stated that they and others had filed numerous

grievances about. Administrators were adamant that had the matter been brought to their



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attention by these inmates it would have been thoroughly investigated. They indicated that they

were aware of one woman reportedly grieving the issue, but that the grievance was not located.

While JHA cannot confirm or deny the validity of inmates’ accounts, we did receive what we

believe to be a significant number of consistent, unsolicited, and independent reports.”); id. at 22

(“Inmates reported to JHA that they personally filed grievances about the incident, and they

further believed that between 80 and 150 grievances were filed in total, as the grievance boxes

on the housing units were “overflowing” after the incident. However, none of the inmates who

reportedly filed grievances knew what happened to them since and they had received no response

on the grievances. One inmate expressed frustration that she had been ‘told three different

stories’ by her assigned correctional counsel about where the grievance forms had gone.”).

       109.    Warden Hulett participated in a debrief of the visit with John Howard Association

staff and served as the warden of Lincoln at the time the John Howard Association’s 2012 report

on Lincoln came out. Exhibit 6, Hulett Dep. 6:3-6:9, 92:21-94:9.

       110.    Defendants Hulett, Reynolds, Hatfield, and Pasley all testified that they had no

knowledge of any complaints about the March 2011 cadet training exercise prior to Plaintiffs’

lawsuit. Exhibit 1, Reynolds Dep. at 97:21-23 (“Q. And did you handle grievances about the

cadet strip search? A. I don’t remember having one grievance. . . .”); id. at 112:6 (“I didn’t have

complaints.”); Exhibit 7, Hatfield Dep. at 45:5-46:3 (“Q. Before the lawsuit was filed no one

mentioned to you at any time that many women prisoners had complaints about the way the

March 31, 2011 cadet training exercise was carried out? A. No. I do not recall that.”); Exhibit 2,

2013 Pasley Dep. at 64:20-24 (“Q. Did the training academy receive any complaints regarding

the way in which the March 31st, 2011 strip searches were conducted at Lincoln Correctional

Center? A. Not to my knowledge.”).



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        111.    Plaintiff Beverly Throgmorton questioned Warden Reynolds about all of the

grievances regarding the cadet training exercise, and he replied with words to the effect of that

grievances were ‘not his department.’ Exhibit 3, 2015 Class Member Declarations, Decl. of

Beverly Throgmorton at ¶33.

                          The Purpose of IDOC Cadet Training Exercises

        112.    The purpose of having cadets conduct cadet training exercise including strip

searches is to train them. Exhibit 4, Yurkovich Dep. at 19:3-9 (“Q: Am I correct to say that the

purpose of having the cadets conduct a mass shakedown was to train them? A: Yes. Q: Were

there any other reasons that they conducted mass shakedowns during the training? A: No. It’s

training driven.”); Exhibit 5, Zavala Dep. at 11-12 (“So it’s for training, correct? A: For training,

absolutely. Q: Is it for anything else or primarily for training cadets? A: It’s for training.”).

        113.    The March 31, 2011 cadet training exercise was not driven by concerns regarding

Lincoln’s institutional security or employee or inmate safety. Exhibit 6, Hulett Dep. at 76:11-15

("Question:. . . . Can you think of any reason other than the training of cadets that you ordered a

shakedown on March 31st, 2011, at the Lincoln facility? Answer: I cannot."); see also id. at

91:6-9 ("If it was something major that was going on . . . I would think that, you know, I would

be able to recall that."); Exhibit 7, Hatfield Dep. at 51:19-23.

        114.    No emergency or exigent circumstance existed on March 31, 2011 at Lincoln. See

Exhibit 6, Hulett Dep. at 76:11-15 (“Question:. . . . Can you think of any reason other than the

training of cadets that you ordered a shakedown on March 31st, 2011, at the Lincoln facility?

Answer: I cannot.”); id. at 91:6-9 (“If it was something major that was going on . . . I would

think that, you know, I would be able to recall that.”).




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       115.    Defendant Hulett did not select Units 2B and 4B for strip searches during the

cadet training exercise because of any security concerns. Exhibit 6, Hulett Dep. 90:1-92:20,

100:14-20; Exhibit 1, Reynolds Dep. at 36:18-22.

       116.    Prisons are selected for cadet training exercises based on the following

considerations: selection of at least one maximum security facility for training on “maximum

security elements”; distance from the training academy; the amount of overtime that would

accrue; cost; and the need to rotate through different facilities. Exhibit 4, Yurkovich Dep. at

16:13-17:1, 19:22-20:9, 21:21-22:3.

       117.    Defendant Reynolds testified that he requested the cadet training exercise because

of an increase in contraband and assaults by prisoners of other prisoners and staff. Exhibit 1,

Reynolds Dep. at 12:11-21. However, the monthly reports regarding inmate management data

show low levels of contraband and assaults in January 2011, February 2011, and March 2011 as

compared with previous months. See Exhibit 8, Inmate Management Data, Affidavit, and Inmate

Management Reports.

       118.    During Defendant Reynolds’ briefing to the cadet class, he asked the cadets to

search only for nuisance contraband and expired medication and did not mention an increase in

prisoner assaults or major contraband. Exhibit 2, 2013 Pasley Dep. at 38:18-39:10 (“the specifics

of [the briefing given by Defendant Reynolds] was basically thank you for coming and the fact

that they were looking specifically for expired medication, medication that wasn’t in its original

container, and just general nuisance contraband such as, you know, too many sheets, too much

commissary, things along that line”); id. at 74:6-13 (“The only specific contraband that I recall

[Defendant Reynolds] mentioning like I said was nuisance contraband”).




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       119.    Routine shakedowns and tactical team shakedowns are not typically accompanied

by strip searches. Exhibit 6, Hulett Dep. at 74:11-75:13; Exhibit 1, Reynolds Dep. at 27:10-19,

32:14-33:3.

       120.    Training cadets provides an inadequate justification for conducting a mass strip

search of prisoners. Exhibit 24, Expert Report of Wendy Still at 8.

       121.    Training cadets to conduct strip searches under humiliating and degrading

conditions and in violation of policy runs counter to the training needs of an institution. Exhibit

24, Expert Report of Wendy Still at 8.

       122.    Cadets may be properly trained through instruction and simulations of strip

searches on clothed persons, followed by supervision as they conduct strip searches on an

individual basis in a private and professional manner at the facilities to which they are assigned,

which are the primary method that female cadets receive training on strip searches. Exhibit 5,

Zavala Dep. at 15:5-16:20 (“Question: . . .[A]m I correct that most females who go through the

training academy when they do their cadet exercises, they go to two male prisons and they don’t

get to do an actual strip search of a female prisoner? Answer: Correct. . . . . Question: Do you

think that the women who go through the training academy and never get to perform a strip

search of a female prisoner during the time of the training academy are properly prepared for

their jobs that they’re going to face at the prisons? Answer: Yes, because everybody is given

language on what to expect on a strip search. So when they do go to their facilities, such as

females going to Logan [Correctional Center], and an inmate is going to be strip searched, it’s

with another female, and so they are being mentored, so they do get the opportunity to learn, the

practical. . . .”); Exhibit 7, Hatfield Dep. at 23:8-16, 24:23-25:5 (discussing different ways to




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train employees in conducting strip searches and confirming that most female cadets complete

the training academy without ever having completed a strip search of an inmate).

       123.     The training academy sees no need to differentiate between cadets who strip

search an inmate during the training academy, and those who do not, making no effort to inform

a cadet’s placement facility whether or not that cadet performed a strip search on a prisoner

during the training academy. Exhibit 7, Hatfield Dep. at 24:17-25:5.

       124.     To control contraband, Defendants Hulett and Reynolds could have restricted the

cadets to pat down searches and shakedowns of living areas, or strip searches conducted in a

private setting, such as on an individual basis or with the use of privacy screens. Exhibit 24,

Expert Report of Wendy Still at 27.

       125.     To afford some modicum of privacy, Defendants could have covered the windows

of the beauty shop and the entrance of the gym bathroom. Exhibit 1, Reynolds Dep. at 56:22-

57:3, 51:2-52:1; Exhibit 24, Expert Report of Wendy Still at 8.

       126.     To afford dignity and hygienic conditions for menstruating prisoners, Defendants

could have provide reissue supplies of sanitary supplies, allowed the prisoners to wash their

hands after being strip searched, and conducted the strip searches of menstruating women in a

private setting. Exhibit 24, Expert Report of Wendy Still at 8, 27.

       127.     To reduce cross-gender observation of strip searches, Defendants could have

prohibited opposite-sex cadets from being in the area where strip searches are happening during

cadet training exercises, which has been IDOC policy since 2012. Exhibit 2, 2013 Pasley Dep. at

145:4-146:16.




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         128.   To reduce the degrading conditions of the group strip searches, Defendants could

have ensured that no staff made derogatory comments during the strip searches. Exhibit 24,

Expert Report of Wendy Still at 8.

         129.   To reduce the trauma of the cadet training exercise, Defendants could have

ensured that no staff made inappropriate threatening remarks during the cadet training exercise

without justification. Exhibit 24, Expert Report of Wendy Still at 8.

                        The Need for Injunctive Relief for Plaintiff Class II

         130.   Since the initial filing of Plaintiffs’ lawsuit, and following the transfer of the

female inmates from Lincoln to Logan, a “cadet training exercise” took place at Logan on

October 31, 2013. Exhibit 3, 2015 Class Member Declarations, Decl. of Ieshia Brown at ¶¶ 1,

31-32.

         131.   During the October 31, 2013 cadet training exercise at Logan, dozens of female

inmates at Logan were subjected to public group strip searches in full view of male corrections

officers, cadets, and other individuals not involved in the strip searches. Exhibit 32, Inmate

Grievances from October 31, 2013 Logan Correctional Center cadet training exercise (Bates 1-

185); Exhibit 33, Logan Class Member Declarations.

         132.   The cadet training exercise at Logan on October 31, 2013 generated dozens of

grievances alleging that the strip searches were conducted in a humiliating, unsanitary, and

degrading manner, including within view of men. See Exhibit 32, Inmate Grievances from

October 31, 2013 Logan Correctional Center cadet training exercise (Def. Bates 1-185); e.g., id.

at 1 (stating for example: “I felt very violated, molested, and sexual exploited to all the male

unknown [correctional officers] who were present”; id. at 14 (stating: “I felt violated, insecure

and embarrassed to be stripped in front of those male officers and it was worse because we had



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to cough and squat.”); id. at 35 (“This search was shameful and embarrassing. Yes we are

offenders but we have a right to dignity and integrity when it comes to our bodies.”).

       133.    As recently as September 2015, multiple defendants testified that in their view,

IDOC policy permits as many as twenty prisoners to be strip searched at the same time in the

same area. See, e.g., Exhibit 23, 2015 Pasley Dep. at 20:8-14; Exhibit 1, Reynolds Dep. at 84:1-

11.

       134.    IDOC always conducts group strip searches during “cadet training exercises.”

Exhibit 1, Reynolds Dep. at 124:4-18; Exhibit 7, Hatfield Dep. at 28:20-29:2.


                                      LEGAL STANDARD

       Summary judgment may be granted only if there are no disputed genuine issues of

material fact. Payne v. Pauley, 337 F.3d 767, 770 (7th Cir. 2003). When ruling on summary

judgment, “a court may not make credibility determinations, weigh the evidence, or decide

which inferences to draw from the facts; these are jobs for a factfinder.” Id. The only task in

ruling on a motion for summary judgment is “to decide, based on the evidence of record, whether

there is any material dispute of fact that requires a trial.” Waldridge v. Amer. Hoescht Corp., 24

F.3d 918, 920 (7th Cir. 1994). If the evidence is such that a reasonable factfinder could return a

verdict in favor of the nonmoving party, summary judgment may not be granted. Payne, 337

F.3d at 770. The evidence and all inferences are viewed in the light most favorable to the

nonmoving party. Equip, Inc. v. Smith-McDonald Corp., 655 F.2d 115, 118 (7th Cir. 1981).




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                                           ARGUMENT

I.     Plaintiffs Present Triable Causes of Action Pursuant to the Fourth and Eighth
       Amendments.

       “[A] strip search is an invasion of personal rights of the first magnitude.” Farmer v.

Perrill, 288 F.3d 1254, 1259 (7th Cir. 2002) (quoting Chapman v. Nichols, 989 F.2d 393, 395

(10th Cir. 1993)); see also Canedy v. Boardman, 16 F.3d 183, 185 (7th Cir. 1994). “Strip

searches involving the visual inspection of the anal area are ‘demeaning, dehumanizing,

undignified, humiliating, terrifying, unpleasant, embarrassing, repulsive, [and] signify [ ]

degradation and submission . . . .’” Campbell v. Miller, 499 F.3d 711, 718 (7th Cir. 2007)

(quoting Mary Beth G.,723 F.2d 1263, 1272 (7th Cir. 1983)). “Courts across the country are

uniform in their condemnation of intrusive searches performed in public.” Campbell, 499 F.3d at

719; see also Iskander v. Village of Forest Park, 690 F.2d 126, 129 (7th Cir. 1982) (“Defendant

naturally does not maintain that routine strip searches may be conducted in a room open to the

prying eyes of passing strangers consistent with the reasonableness requirement imposed on all

searches under the Fourth Amendment, nor would such a contention be entertained.”). “[W]hile

all forced observations or inspections of the naked body implicate a privacy concern, it is

generally considered a greater invasion to have one’s naked body viewed by a member of the

opposite sex.” Canedy, 16 F.3d at 185 (citation omitted).

       Where, as here, prison officials conducts the mass public strip search of 200 prisoners to

train cadets, see PSOF 17, Plaintiffs are entitled to challenge the constitutionality of the search as

an objective matter pursuant to the Fourth Amendment. Moreover, even if the Defendants were

entitled to strip search the Plaintiff Class to train a class of cadets, the Fourth Amendment

affords protection to prisoners from the humiliating, degrading, and public manner in which the

strip search was conducted. See PSOF 27-92, 121-129. The Eighth Amendment further protects


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prisoners from strip searches conducted in a punitive manner intended to humiliate them. Id.

112-119. Plaintiffs accordingly present triable Fourth and Eighth Amendment claims.

       A.      The Fourth Amendment Protects Prisoners’ Right to Bodily Privacy.

       Defendants move for summary judgment on Plaintiffs’ Fourth Amendment claims on the

sole basis that prisoners have no Fourth Amendment right of privacy as a categorical matter

(Def. Mtn. Summ. J. at 8). To the contrary, prisoners do retain a Fourth Amendment protection

against unreasonable searches of their bodies, as distinguished from searches of their

surroundings. Forbes v. Trigg, 976 F.2d 308, 312 (7th Cir. 1992) (“[P]rison inmates retain

protected privacy rights in their bodies, although these rights do not extend to their

surroundings”); Peckham v. Wisconsin Dep’t of Corrections, 141 F.3d 694, 697 & n.2 (7th Cir.

1998) (answering “yes” to the question of whether prisoners enjoy protection under the Fourth

Amendment against unreasonable searches and seizures); Mary Beth G., 723 F.2d at 1272

(upholding the determination that mass strip searches in police lockups violated the Fourth

Amendment and observing: “we can think of few exercises of authority by the state that intrude

on the citizen’s privacy and dignity as severely as the visual anal and genital searches practiced

here”); Bullock v. Dart, 599 F. Supp. 2d 947, 963 (N.D. Ill. 2009) (class of prisoners challenging

mass strip searches present triable Fourth Amendment claims).3

       To be sure, the Seventh Circuit in Peckham indicated that the Eighth Amendment is the

central focus of challenges to unconstitutional strip searches whose aim is punishment, and as set

forth below, Plaintiffs assert a meritorious Eighth Amendment claim. Id. at 697. Where, as here,

however, a prison conducts a mass public strip search to train cadets, Plaintiffs are entitled to


3
 Other circuits are in accord. See, e.g., Peckham, 141 F.3d 694, 697 n.2; Fortner v. Thomas, 983
F.2d 1024, 1030 (11th Cir. 1993); Covino v. Patrissi, 967 F.2d 73, 78 (2d Cir. 1992); Sepulveda
v. Ramirez, 967 F.2d 1413, 1415 (9th Cir. 1992) (recognizing that prison inmates retain the right
to bodily privacy).
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challenge the constitutionality of the search as an objective matter. Moreover, even if the

Defendants were entitled to conduct strip searches of all prisoners in housing units 2B and 4B,

the Fourth Amendment protects the right of prisoners to be free of a public group strip search

conducted under humiliating, degrading, and painful conditions. See PSOF 27-92

       In support of their argument, Defendants rely exclusively on two cases: Hudson v.

Palmer, 468 U.S. 517 (1984), and Johnson v. Phelan, 69 F.3d 144, 146 (7th Cir. 1995).

Defendants’ analysis is incorrect, and was specifically rejected by the Seventh Circuit in

Peckham. 141 F.3d at 696-97 (repudiating Johnson to the extent that it suggests that prisoners

lack a Fourth Amendment right to bodily privacy). Hudson, as the Seventh Circuit explained in

Peckham, merely abrogated Fourth Amendment protections against unreasonable searches of

prisoners’ cells. 141 F.3d at 696. Defendants’ argument must therefore be rejected.

       B.      Plaintiffs Present a Triable Fourth Amendment Claim.

       Prisoners have a “well established right . . . not to be subjected to a humiliating strip

search in full view of several (or perhaps many) others unless the procedure is reasonably related

to a legitimate penological interest.” Farmer, 288 F.3d at 121 (7th Cir. 2002). The

constitutionality of prison strip searches turns on “a balancing of the rights of the inmates and the

needs of the prison’s administration.” Id. at 121. Although courts “engage[] in a deferential

review of the administrative decisions of prison authorities, the traditional deference does not

mean that courts have abdicated their duty to protect those constitutional rights that a prisoner

retains.” Fortner v. Thomas, 983 F.2d 1024, 1029 (11th Cir. 1993). “[I]nfringments on prisoners’

constitutional rights must not be ‘arbitrary or irrational,’ nor an ‘exaggerated response’ to

security needs.” Farmer, 288 F.3d at 1261 (quotingTurner v. Safley, 482 U.S. 78, 90 (1987)).

Even when the use of a strip search is authorized to detect contraband, correctional officials must



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be ensure that the searches are conducted in a reasonable and respectful manner. Bell v. Wolfish,

441 U.S. 520, 559 (1979).

       Defendants have waived the right to argue these searches complied with the Fourth

Amendment. F.T.C. v. World Media Brokers, 415 F.3d 758, 766 (7th Cir. 2005). Even if they

had not, pursuant to these authorities, Plaintiffs present triable Fourth Amendment claims.

Taking the facts in the light most favorable to Plaintiffs, Defendants conducted an unreasonable,

disrespectful, and dehumanizing search of Plaintiffs without any penological purpose. PSOF 27-

92, 112-129; Exhibit 24, Wendy Still Report at 23-27. As described in Plaintiffs’ Statement of

Additional Facts, Defendants acknowledged that hands-on training, as opposed to mere

instruction, is not even a necessary component of training. PSOF 122. Moreover, training cadets

to conduct strip searches under the humiliating and degrading conditions described above runs

counter to the training needs of an institution. See Exhibit 24, Wendy Still Report at 8, 23-25.

The mass strip searches at Lincoln Correctional Center served no legitimate penological interest

in eliminating or deterring contraband, and were, as Defendants admit, solely implemented for

training purposes. PSOF 112-129. Plaintiffs should therefore be permitted to present their Fourth

Amendment claims to a jury.

       C.      Plaintiffs Present a Triable Eighth Amendment Claim

       For good reason, Defendants do not assert that Plaintiff has failed to show a genuine issue

of material fact regarding whether the strip searches were carried out in violation of the Eighth

Amendment. The Eighth Amendment prohibits the conduct of strip searches “in a harassing

manner intended to humiliate and cause psychological pain.’” May v. Trancoso, 412 F. App’x

899, 902 (7th Cir. 2011) (citing Mays v. Springborn, 575 F.3d 643, 649 (7th Cir. 2009); see also

Whitman v. Nesic, 368 F.3d 931, 934 (7th Cir. 2004); Calhoun v. DeTella, 319 F.3d 936, 939



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(7th Cir. 2003). Facts that give rise to an inference of an intent to harass include: the demeaning

of prisoners during the search, including through “sexual ridicule,” May, 412 F. App’x at 903;

Mays, 575 F.3d at 650; Calhoun, 319 F.3d at 940; the presence of opposite-sex or civilian

spectators, May, 412 F. App’x at 903; Calhoun, 319 F.3d at 940; unhygienic or uncomfortable

conditions, Mays, 575 F.3d at 650; and violation of prison regulations, May, 412 F. App’x at

903.

       Plaintiffs present ample evidence of Defendants’ intent to humiliate them and cause them

pain during the March 2011 cadet training exercise, including demeaning and sexually

derogative ridicule, opposite-sex spectators, civilian spectators, lack of hygiene, painful and

uncomfortable conditions, violation of prison regulations, and threatening conduct. See PSOF

27-92. Based on this evidence, and because Defendants have waived any argument to the

contrary, see F.T.C., 415 F.3d at 766, Plaintiffs are entitled to present their Eighth Amendment

claims to a jury.

II.    Plaintiffs Present a Triable Claim as to All Defendants Based on their Personal
       Responsibility for Violating Plaintiffs’ Civil Rights.

       Defendants’ contend that even if a jury believed the Plaintiffs’ testimony, Defendants

cannot be held liable because Plaintiffs have offered no evidence that any Defendant strip

searched any of the Plaintiffs. Defendants’ argument misunderstands the requirements for

establishing personal liability under 28 U.S.C. §1983. “[W]hile it is true that a plaintiff must

establish a defendant’s personal responsibility for any claimed deprivation of a constitutional

right, a defendant’s direct participation in the deprivation is not required. Miller v. Smith, 220

F.3d 491, 495 (7th Cir. 2000) (citing Smith v. Rowe, 761 F.2d 360, 369 (7th Cir. 1985)).

       On the contrary, an omission or a failure to intervene may suffice to violate civil rights.

Yang v. Hardin, 37 F.3d 282, 285 (7th Cir. 1994). “An official satisfies the personal


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responsibility requirement of § 1983 if she acts or fails to act with a deliberate or reckless

disregard of the plaintiff’s constitutional rights.” Miller, 220 F.3d at 495. (emphasis added)

(citing Crowder v. Lash, 687 F.2d 996, 1005 (7th Cir. 1982)). Accordingly, correctional officers

who “have a realistic opportunity to step forward and prevent a fellow officer from violating a

plaintiff’s rights” bear personal responsibility for the violation under section 1983 claims. Id.

(citing Yang, 37 F.3d at 285).

        In the same vein, supervisors are liable for a constitutional deprivation when they “know

about the conduct and facilitate it, approve it, condone it, or turn a blind eye for fear of what they

might see.” Jones v. City of Chicago, 856 F.2d 985, 992 (7th Cir. 1988). Of course, “if the

conduct causing the constitutional deprivation occurs at [the defendant’s] direction or with her

knowledge and consent,” the supervisor is liable for the deprivation. Crowder, 687 F.2d at 1005.

Supervisory liability also arises “when the supervisor disregards known or obvious risks of

constitutional violations that would flow from a lack of supervision.” Mayes v. City of

Hammond, 442 F. Supp. 2d 587, 635 (N.D. Ind. July 5, 2006) (internal quotation marks omitted).

Finally, watching unconstitutional conduct, without intervening, is sufficient to subject

supervisors to liability. May, 412 F. App’x at 903 (citing George v. Smith, 507 F.3d 605, 609-

610 (7th Cir. 2007)).

        Yet another basis upon which Defendants are liable is their part in a conspiracy to

deprive the plaintiffs of their constitutional rights. To establish liability on that basis, Plaintiffs

need only show that Defendants were “voluntary participant[s] in a common venture” and

understood “the general objectives of the scheme, accept[ed] them, and agree[d], either explicitly

or implicitly, to do [their] part to further them.” Jones, 856 F.2d at 992; see also, e.g., McCann v.

Mangialardi, 337 F.3d 782, 789 (7th Cir. 2003); Williams v. Brown, 269 F.Supp.2d 987, 994-95



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(N.D. Ill. July 1, 2003) reversed on other grounds by 2003 WL 22454083 (N.D. Ill Oct. 3, 2003).

Plaintiffs need not prove that Defendants “agreed on the details of the conspiratorial scheme or

even know who the other conspirators are.” Jones, 856 F. 2d at 992.

       Pursuant to these principles, Plaintiffs present a triable cause of action against Defendants

Hulett, Reynolds, Pasley, Hatfield, Dawdy, Craig, Edmonson, Johnson, Leonetti, Pfeiffer, Slater,

Krull, Dallas, Anderson, Crudup, Butler, and Spaniol and their citation to Harper v. Padilla, 400

F.3d 1052 (7th Cir. 2005) falls short.

       A.      Defendants’ Liability for Conspiracy

       Plaintiffs put forward sufficient evidence from which a reasonable jury could infer that

the March 2011 cadet training exercise was conducted pursuant to Defendants’ organized plan

and agreement to maliciously and sadistically inflict harm on Plaintiffs; to subject them to a

humiliating, degrading public strip search in violation of their constitutional rights; and to refrain

from intervening on their behalf.

       Defendants began the cadet training exercise with a briefing in the dietary hall at which

they discussed and agreed upon how the exercise would unfold. PSOF 25. Following that

briefing, correctional staff of varying ranks and responsibilities engaged in widespread

misconduct, in obvious fashion, in multiple locations, and in the vicinity of numerous other staff

members. PSOF 27-92. The misconduct occurred in widespread, obvious fashion, and

Defendants made no attempt to conceal their actions. Id. The misconduct included subjection of

prisoners to group strip searches in full view of groups of men and women not conducting the

search, under humiliating, degrading, and unsanitary conditions; the direction of sexually

derogatory and humiliating insults at prisoners; the use of threatening behavior and language

without justification; the unnecessary and painful physical restraint of prisoners – in handcuffs –



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without accommodation for elderly prisoners and those with disabilities; the deprivation of water

and opportunities to use the bathroom throughout the duration of the cadet training exercise; and

the forced standing of members of the Plaintiff class for hours while they awaited strip searches,

for no penological purpose whatsoever. Id. Much of the misconduct was directly contradictory to

IDOC policy, even though prisons are paramilitary organizations that operate on a strict chain of

command. PSOF 26, 93-101. Despite the numerous problems that arose during the cadet training

exercise, no staff member reported any rule violations; no internal investigation ensued; and no

discipline was meted out in connection with the cadet training exercise. PSOF 102-111.

       After the cadet training exercise, dozens of prisoners submitted grievances that

mysteriously disappeared. PSOF 105-108. The John Howard Association and Class

Representative Beverly Throgmorton brought the missing grievances to the attention of,

respectively, Defendants Hulett and Reynolds. PSOF 108, 109, 111. No action was taken to

investigate misconduct during the cadet training exercise as a result, however, and no employee

received any form of discipline in connection with the event. PSOF 102-104, 110.

       Taking all inferences in favor of the non-moving party, as this Court must, these facts

suffice to create a genuine issue of material fact regarding whether Defendants agreed to deprive

Plaintiffs of their constitutional rights and took steps in furtherance of that enterprise. A jury

could easily infer from this highly coordinated and widespread misconduct – as well as the

briefing that preceded it—that Defendants came to an agreement prior to the shakedowns to

commit the misconduct and entered into a conspiracy. See, e.g., Williams v. Brown, 269 F. Supp.

2d 987, 994–95 (N.D. Ill. 2003) (evidence suggesting that officers arrived en masse and

subsequently acted in a “cooperative and organized manner” permitted inference that “some

planning had taken place in advance” and precluded summary judgment against plaintiff on



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conspiracy claim); Petrovic v. City of Chicago, No. 06 C 6111, 2008 WL 4286954, at *8 (N.D.

Ill. Sept. 16, 2008) (“A reasonable jury could conclude from the fact that these officers acted in

concert while they used excessive force that there was an implied agreement to do so.”).

Plaintiffs accordingly present triable claims against Defendants Hulett, Reynolds, Pasley,

Hatfield, Dawdy, Craig, Edmonson, Johnson, Leonetti, Pfeiffer, Slater, Krull, Dallas, Anderson,

Crudup, Butler, and Spaniol.

       B.      The Personal Involvement of Defendant Supervisors Warden Hulett and Assistant
               Warden of Operations Reynolds

       Additional bases abound for proving at trial that Defendants Hulett and Reynolds were

personally responsible for violating Plaintiffs’ constitutional rights. Defendants Hulett and

Reynolds were present during the strip searches and heavily involved in supervision of the cadet

training exercise, also giving rise to personal responsibility for the constitutional deprivations.

See PSOF 27-29, 31-34, 40, 44-45, 46-51, 64, 75, 79-82, 85-89.

       A jury could easily infer that Defendants Hulett and Reynolds had ample notice of the

unconstitutional manner in which the cadet training exercise occurred, and failed to intervene on

the Plaintiffs’ behalf. May, 412 F. App’x at 903 (citing George v. Smith, 507 F.3d 605, 609-610

(7th Cir. 2007)). Warden Hulett authorized the cadet training exercise and Defendant Reynolds

instructed staff members at a briefing. PSOF 18, 25. After the briefing, Defendants Hulett and

Reynolds accompanied the cadets to the housing units to handcuff prisoners in Units 2B and 4B.

PSOF 25. Defendant Reynolds was among those correctional officers calling the prisoners

“bitches” and threatening to put them in segregation if they did not remain quiet during the cadet

training exercise. PSOF 32. Defendant Reynolds was in charge of commanding Lincoln staff on

the day of the cadet training exercise, and pursuant to authority delegated from Hulett, and he

instructed his staff to conduct strip searches of prisoners in the bathroom abutting the gym. PSOF


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28, 46, 49. Defendants Reynolds and Hulett visited the gym while group searches were taking

place in the bathroom with an open door, and were among those staff members prohibiting

prisoners from sitting, getting a drink of water, or use the restroom during the training exercise.

PSOF 85, 89. Even after prisoners appealed to Defendants Hulett and Reynolds for help –

informing them of complaints including that they had been standing in handcuffs for hours

waiting for strip searches, and that the floor was contaminated with menstrual blood –

Defendants Hulett and Reynolds failed to intervene on their behalf. PSOF 85. Defendant

Reynolds did nothing to ensure that replacement feminine sanitary supplies were available

during the mass strip search, even though he admits it was his responsibility to do so. PSOF 75.

        Finally, even if a jury were to credit Defendants Hulett and Reynolds’s testimony that

they spent little time in the gym and did not see any misconduct therein – over which a genuine

issue of material fact exists, a jury could reasonable conclude that Defendants Hulett and

Reynolds disregarded known or obvious risks of constitutional violations that would flow from

their lack of supervision over the cadet training exercise. Mayes, 442 F. Supp. 2d at 635.

Defendants Hulett and Reynolds orchestrated the exercise without first preparing or reviewing an

operational plan, even though the cadet training exercise was the first of its kind at Lincoln

during their tenure and involved the mass strip search of 200 women, and even though the lack

of such preparation is well understood by corrections officials as necessary to protect prisoners

from abuse. PSOF 20-21. Plaintiff thus puts forward ample facts from which a jury could

reasonably find Warden Melody Hulett and Assistant Warden of Operations Reynolds personally

liable for the deprivation of Plaintiffs’ constitutional rights.




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       C.      The Personal Involvement of Defendant Training Instructors Alan Pasley and
               Renee Hatfield

       Training instructors Defendant Pasley and Renee Hatfield are liable not only as co-

conspirators, but also for their direct involvement in Plaintiffs’ constitutional violations and their

failure to supervise their subordinates during the training exercise.

       Defendant Pasley was, at the time of the March 31, 2011 cadet training exercise, the

training specialist primarily responsible for the conduct of the cadets during the training exercise

and was delegated additional responsibility for overseeing the cadet training exercise by

Defendant Hulett. PSOF 12. Defendant Pasley participated in the briefing, at which the

instructions for the cadet were given. PSOF 25. Pasley then went with the cadets and Defendant

Orange Crush Members to the housing units, accompanying the cadets as they transported

prisoners to the gym, inside which strip searches were taking place in a bathroom open to the

gym. PSOF 41, 51-52. In the housing units and on the way to the gym, multiple Defendants

engaged in misconduct including hurling sexually derogatory, humiliating, and degrading insults

at the prisoners; threatening the prisoners with their conduct and actions, without justification;

bringing members of the Plaintiff Class to tears through the use of tight handcuffs without

accommodation for elderly prisoners or those with disabilities, all without justification; and

forcing prisoners to stand for long periods of time, handcuffed, for no legitimate purpose. See

PSOF 27-46. A reasonable jury could easily infer from these facts that Pasley knew about the

misconduct at the cadet training exercise and either approved of it or turned a blind eye for fear

of what he would see. Jones, 856 F.2d at 992-93.

       In addition, Defendant Pasley knew that the cadets he supervised were planning to

subject Lincoln prisoners to group strip searches, PSOF 17, 25, an invasion of privacy of the

“first magnitude.” Farmer, 288 F.3d at 1259. Despite his supervisory responsibilities and the


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important privacy interests at stake for the Plaintiff Class, Defendant Pasley testified that he did

not bother to determine whether anyone was supervising cadets during the strip searches and did

not oversee the cadets’ conduct in the gym. PSOF 92. A jury could therefore infer that Pasley

disregarded known or obvious risks of constitutional violations that would flow from his lack of

supervision of cadets performing group strip searches of 200 prisoners, and find Pasley liable on

that basis.

        For her part, Defendant Hatfield also supervised the cadets as a training academy

instructor. PSOF 48. In fact, Defendant Hatfield was the sole training instructor present in the

gym throughout the cadet training exercise and had a central role in supervising the cadets

conducting strip searches. PSOF 48. During the cadet exercise, Defendant Hatfield went into the

gym bathroom to observe strip searches taking place there. PSOF 45, 48. Hatfield was also in

close proximity to misconduct that took place in the gym, as prisoners were forced to stand

facing the wall, unnecessarily and for many hours, while handcuffed, as they awaited group strip

searches. PSOF 80. Although Hatfield now claims that she saw no misconduct, a jury could

reasonably discredit this self-serving testimony and instead conclude that Hatfield had clear

notice of the misconduct occurring around her, throughout the entire cadet training exercise and

in obvious and unconcealed fashion, and that she failed to intervene on the Plaintiffs’ behalf.

        D.     The Personal Involvement of Defendants Dawdy, Craig, Edmonson, Johnson,
               Leonetti, Pfeiffer, Slater, Krull, Dallas, Anderson, Crudup, Butler, and Spaniol

        Finally, Plaintiffs present abundant evidence from which a jury could infer that

Defendants Dawdy, Craig, Edmonson, Johnson, Leonetti, Pfeiffer, Slater, Krull, Dallas,

Anderson, Crudup, Butler, and Spaniol directly participated in the constitutional deprivations or

failed to intervene on Plaintiffs’ behalf. See PSOF 27-32, 35, 45-46, 49, 64, 69, 71-72, 83-84.




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        Critically, Plaintiffs’ evidence supports the inference that each of these defendants either

conducted or directly observed the unconstitutional public strip searches. Defendants Johnson,

Slater, Edmonson, Crudup, and Butler conducted the degrading strip searches, alongside cadets,

and Defendants Slater and Crudup were among those making derogatory comments and gestures

about Plaintiffs’ naked bodies and odors. PSOF 47, 71. Defendants Dawdy, Leonetti, Johnson,

Dallas, Spaniol, Anderson, and Pfeiffer monitored and yelled at the prisoners in the gym

throughout the morning, as they stood for hours awaiting strip searches. PSOF 31, 49, 64, 83-84.

Taking all inferences in Plaintiffs’ favor, as this Court must, a jury could easily conclude that the

Defendants either participated in strip searches or had notice of the unconstitutional conduct, and

failed to intervene on the Plaintiffs’ behalf.

        Defendants’ personal involvement does not stop there, however. Defendant Dawdy

instructed the Orange Crush Officers to arrive for the cadet training exercise dressed in riot gear.

Defendant Dawdy likewise permitted the members of the Orange Crush tactical team –

Defendants Edmonson, Johnson, Leonetti, Pfeiffer, Slater, and Krull – to engage in threatening,

punitive, and needlessly intimidating conduct as they stormed Plaintiffs’ housing units and to

refuse to make accommodations for elderly and disabled prisoners. PSOF 24, 27, 37-38.

Defendants Johnson, Edmonson, and Slater called the prisoners “bitches” and threatened to put

them in segregation if they did not remain quiet during the cadet training exercise. PSOF 32.

        That a particular constitutional deprivation involved a large number of defendants does

not insulate them from liability. “The number of officers present and able to intervene to save an

innocent person from unconstitutional summary punishment . . . in no way correlates with any

one officer’s duty to intercede.” Yang, 37 F.3d at 286. Instead, each state actor present “has an

independent duty to act.” Id. Moreover, a plaintiff’s inability to identify which of the named



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defendants violated his constitutional rights with a particular action does not preclude liability so

long as the Plaintiff can show that each defendant either participated in the misconduct or

“ignored a realistic opportunity to intervene.” Logan v. City of Chicago, 891 F. Supp. 2d 897,

903 (N.D. Ill. 2012). Drawing all reasonable inferences in Plaintiffs’ favor, there is sufficient

evidence from which a reasonable jury could conclude that each of these defendants contributed

personally to the deprivation of Plaintiffs’ rights, further subjecting them to liability.

III.   Plaintiffs Plead Personal Capacity Claims Against Defendant Hulett.

       Defendant Hulett seeks summary judgment for the claims against her on the basis that she

has been sued only in her official capacity and is no longer the warden. Despite the inartful

wording of Plaintiffs’ complaint, Plaintiffs have provided clear notice that they have sued

Defendant Hulett in her personal capacity for her involvement in the cadet training exercise.

Accordingly, Defendant Hulett’s argument should be rejected.

       Rule 8 remains “a liberal notice pleading regime, which is intended to ‘focus litigation on

the merits of a claim’ rather than on technicalities that might keep plaintiffs out of court.” Brooks

v. Ross, 578 F.3d 574, 580 (7th Cir. 2009) (citation omitted); see also Luckett v. Rent–A–Center,

Inc., 53 F.3d 871, 873 (7th Cir. 1995) (“[T]he pleading stage is not the occasion for

technicalities”); 2 James Wm. Moore, et al., Moore’s Federal Practice § 8.04 (3d ed. 2006) (“The

intent of the liberal notice pleading system is to ensure that claims are determined on their merits

rather than through missteps in pleading.”). The record supports that Hulett has received

sufficient notice of the personal capacity claims directed at her, in compliance with Rule 8. First,

Plaintiffs identify Defendant Hulett’s personal involvement in the cadet training exercise in their

complaint. See, e.g., Sixth Amended Complaint, Dkt. No. 83, at ¶4 (noting that the cadet training

exercise was “organized by Defendant[] Hulett” and other defendants); ¶19 (stating that Warden



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Hulett and other defendants were “in charge of permitting the IDOC cadets to perform this

public group strip search at Lincoln”).

       In addition, Plaintiffs made clear during Defendant Hulett’s deposition that they sued her

in her personal capacity, focusing on her personal involvement with questions such as:

      “Q: Who was in charge of the mass shakedown? A: Outside of myself? Q: Well, that’s
       what I was – you’re the one in charge, correct? A: Yeah, I supervise, yes, the team.”
       Exhibit 6, Hulett Dep. at 78:14-78:18.
      “Q: Well, you were in charge of the mass shakedown. Did you delegate some
       responsibilities? A: I did, uh-huh. Q: Who did you delegate responsibilities to?” Id. 79:9-
       79:12.
       “Q: . . . . Who made the decision as to which housing unit would be subject to a mass
       shakedown? A: That would have been a discussion between me and my assistant
       warden.” Id. 90:1-90:5.
      “Q: . . . . Were you present in the gymnasium on March 31, 2011, when the strip searches
       were taking place? A: I was not. I was – I made the initial trip there with the first round
       of offenders that were taken over. I stayed and – until they start moving the women into
       the bathrooms. I left it in the hands of Assistant Warden Reynolds as well as Pasley and
       his staff.” Id. 94:10-94:18.
      “Q: What direction, if any, did you give to the cadets and/or the regular correctional
       officers -- A: I didn’t. Q: -- as to whether or not the women would be handcuffed when
       being taken from their cell to the gymnasium? A: I do not recall giving any.” Id. 102:13-
       102: 19.
      “Q: Other than that, did you do anything else when the first group of women came in? . . .
       . . A: Huh-uh. Just did a walk-through and that’s it, a walk-through and that’s it.” Id.
       105:14-105:19.

       Plaintiffs also put Defendant Hulett on notice of the personal capacity claims against her

through written discovery, inquiring about her own role in the cadet training exercise and

whether she acted consistently with IDOC policy. See Exhibit 25, Defendant Hulett’s Responses

to Plaintiffs’ First Set of Interrogatories at Nos. 2, 4, 6. Defendant Hulett clearly understood that

she was being sued in her personal capacity, as she responded responding at deposition and in

interrogatories based on her personal involvement. See id.

       In sum, to hold that Defendant Hulett still does not have adequate notice of the

allegations against her would place form over substance. At this stage of the proceedings – after


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extensive discovery about Defendant Hulett’s personal involvement – seeking dismissal on a

technical pleading defect is simply gamesmanship. At a bare minimum, should this Court find

Plaintiffs’ complaint insufficient, it should afford Plaintiffs an opportunity to amend their

complaint under the liberal allowance of Rule 15 to make it explicit that Defendant Hulett has

been sued in her personal capacity. See FED. R. CIV. P. 15; Stanard v. Nygren, 658 F.3d 792,

800-01 (7th Cir. 2011) (pleading rules favor decisions on the merits rather than technicalities,

and leave to amend pleadings should be freely given).

VI.    Plaintiffs’ Injunctive Claim Survives Summary Judgment.

       Defendants also argue that Plaintiffs’ claim for injunctive relief fails as to Yurkovich,

Zavala, and Hatfield because there is no ongoing violation of Plaintiffs’ constitutional rights. As

proof, Defendants contend that IDOC policy currently prohibits searching female inmates in

view of male officers, verbal abuse, and unhygienic conditions during a search. They contend

that the only IDOC policy that is at issue here is IDOC’s policy of allowing the search of more

than one inmate at a time, and that group strip searches are only unconstitutional if conducted

without a valid reason and in a harassing manner intended to humiliate and cause psychological

harm. (Mot. Summary Judgment at 12-13) (citing Mays v. Springborn, 575 F.3d 643, 649-50 (7th

Cir. 2009)). Because, as they reason, IDOC’s policies pass constitutional muster, there are no

ongoing violations that this Court need address through injunctive relief.

       As set forth above, taking the undisputed facts in the light most favorable to Plaintiffs,

the searches that were conducted in this case were unconstitutional. But even setting that aside,

whether or not there are specific IDOC policies in place that prohibit aspects of the strip search

that Plaintiffs experienced in this case, there is evidence that these kinds of strips searches

continue unabated and that the lack of accountability and the lack of a meaningful grievance



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process prove that IDOC has a problem with compliance even with its own stated policies and

standards.

       A.      Plaintiffs’ Claim for Injunctive Relief Is Against Defendants Zavala, Brannon and
               Atchison to Prevent Ongoing Constitutional Violations.

       Under the Ex parte Young doctrine, a plaintiff may file suit against state officials seeking

prospective equitable relief to rectify ongoing violations of federal law. Ex Parte Young, 209

U.S. 123, 159-60 (108); see also Sottoriva v. Claps, No. 06-3118, 2008 WL 821870, at *11 (C.D.

Ill. Mar. 26, 2008). The question is whether Plaintiffs have shown ongoing violations of federal

law and seek prospective relief. Verizon Maryland, Inc. v. Public Service Comm. Of Maryland,

535 U.S. 635, 645 (2002). Here, both are true. Plaintiffs have shown, taking the facts in the light

most favorable to them, that Defendants Zavala, Brannon and Atchison continue to violate

Plaintiffs’ constitutional rights by continuing to enforce a policy of allowing mass strip searches

without appropriate constitutional safeguards, and by allowing unconstitutional strip searches

without accountability for the IDOC employees who participate in them.

       The operative version of Plaintiffs’ Complaint, the Sixth Amended Complaint filed on

March 31, 2014, does not raise an official capacity claim as to Defendant Hatfield. Plaintiffs do

bring an official capacity claim against Defendants Zavala, Brannon and Atchison. Defendant

Atchison is acting as the IDOC Deputy Chief of Operations at this time; Defendant Zavala is

employed by IDOC as the IDOC Training Academy manager of Staff Development and training;

and Defendant Brannon is the Warden at Logan Correctional Center. See Exhibit 21, IDOC page

on Michael Atchison; Exhibit 5, Zavala Dep at 6:18-22; Exhibit 22, IDOC page on Christine

Brannon.

       These state actors, in their capacities as IDOC Chief of Operations, training manager, and

Warden at Logan Correctional Center, where the female inmates formerly housed at Lincoln


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Correctional Center now reside (PSOF 11), are responsible for the manner in which strip

searches are conducted by IDOC cadets at institutions housing women. Each of these state actors

continues to perpetuate unconstitutional policies and practices with respect to mass strip searches

of female inmates, in that each of these state actors continues to perpetuate a policy of allowing

mass strip searches of women a part of cadet training exercises where those mass strip searches

are conducted in a humiliating fashion unrelated to any legitimate penological purpose.

       B.      The Risk of Ongoing Harm is Already Manifested By Similar Unconstitutional
               Strip Searches in 2013 at Logan Correctional Center.

       The Court need no better evidence that injunctive relief is necessary to prevent ongoing

harm than evidence that on October 31, 2013, a similar cadet training exercise occurred at Logan

Correctional Center, where female inmates of Lincoln Correctional Center were transferred

subsequent to the mass strip search in this case. PSOF 130-132. The 2013 strip searches were

also a cadet training exercise and had many of the same unconstitutional features as the searches

at issue in this litigation did: (1) women were searched in large groups (2) in the presence of

male correctional officers and (3) individuals who had no role in the search; (4) women were

kept handcuffed for long periods of time in uncomfortable positions in the gym; (5) demeaning

language was used by IDOC staff and cadets during the searches; (6) women were denied access

to sanitary products, creating unsanitary and demeaning conditions; and (7) women were denied

access to the bathroom. Id. The 2013 Logan strip searches alone demonstrate that injunctive

relief is necessary to prevent ongoing and persistent violations of the rights of Plaintiffs and

women who are similarly situated.




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       C.      IDOC’s Codified Standards for Strip Searches Allow for Unconstitutional
               Searches.

       Moreover, as Plaintiffs’ expert Wendy Still concluded in her report in this case (Exhibit

24, Report of Wendy Sill), IDOC lacks accountability to ensure future compliance with generally

accepted correctional standards regarding strip searches, even if some of those correctional

standards are codified in IDOC’s stated policies. As an initial matter, and as the Defendants

acknowledge, IDOC’s policies allow for the search of more than one inmate at a time, and the

Defendants in this case testified that they interpreted that policy to allow as many as twenty

correctional employees to be strip searched simultaneously, in the same location. PSOF 133.

This ongoing policy fosters the conditions in which the constitutional violations in this case

occurred, because the Defendants in this case believed the mass strip searches they were

conducting were constitutional despite the clear constitutional problems with numerous aspects

of the searches.

       D.      The Way in Which The Strip Searches Were Conducted in This Case
               Demonstrates a Continuing Lack of Oversight and Discipline That Ensures Future
               Searches Will Also Be Unconstitutional

       Even setting aside IDOC’s written policies, however, the way in which the strip searches

in this case were conducted demonstrates a continuing lack of oversight and discipline that

creates a serious risk of ongoing harm in the form of future unconstitutional searches. This is true

for two reasons. First, the grievance system at Lincoln Correctional Center failed after the March

2011 cadet training exercise. Numerous prisoners reported that they submitted grievances after

the search, but never received any response. PSOF 108. During a February 2012 monitoring visit

by the John Howard Association to Lincoln Correctional Center, a large number of inmates

independently voiced concerns about the March 2011 cadet training exercise and the

disappearance of their grievances. The John Howard Association report concluded that between


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80 and 150 grievances about these searches were filed, but no one knew what happened to the

grievances, and no one received a response to their grievances. Id. Despite this evidence that

scores of inmates grieved the conditions of the mass strip search, the defendant administrators

and training staff reported that they had no knowledge of those grievances. PSOF 110. The

failure to permit inmates to report the sexual harassment during this cadet training exercise

violates the standards of the Prison Rape Elimination Act. See 28 C.F.R. 115.51(a) (requiring

that correctional agencies “provide multiple internal ways for inmates to privately report sexual

abuse and sexual harassment, . . . and staff neglect or violation of responsibilities that may have

contributed to such incidents”); id. 115.51(c) (requiring that “[s]taff shall accept reports made

verbally, in writing, anonymously, and from third parties and shall promptly document any

verbal reports”); id. 115.61(a) requiring that correctional agencies “require all staff to report

immediately and according to agency policy any knowledge, suspicion, or information regarding

an incident of sexual abuse or sexual harassment that occurred in a facility, whether or not it is

part of the agency . . . and any staff neglect or violation of responsibilities that may have

contributed to an incident or retaliation”); id. 115.61(e) (“The facility shall report all allegations

of sexual abuse and sexual harassment, including third-party and anonymous reports, to the

facility’s designated investigators.”).

       In total, Ms. Still will testify that the scope of the failure to allow the women in this case

to effectively grieve the strip search reflects a systematic problem and not an isolated incident.

See Exhibit 24, Expert Report of Wendy Still at 30. This problem is related to the fact that

despite all of the unconstitutional behavior that took place during this strip search, no staff

reported any violations; no internal investigation was completed; and no discipline was handed

out to any IDOC employees. PSOF 102-103. These widespread failures, too, reflect systematic



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problems rather than isolated incidents and evidence a culture that emboldens, facilitates, and

encourages abuses of the kind that occurred during the March 2011 cadet training exercise.

                                        CONCLUSION

       For these reasons, Plaintiffs respectfully request that this Court deny Defendants’ Motion

for Summary Judgment in full.


                                                     RESPECTFULLY SUBMITTED,

                                                      /s/ Ruth Brown
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                                 CERTIFICATE OF SERVICE

         I, Ruth Brown, an attorney, certify that on February 2, 2016, I caused the foregoing
 Plaintiffs’ Response to Defendants’ Motion for Summary Judgment to be served on all counsel
 of record via CM/ECF electronic filing.

                                                              /s/ Ruth Brown




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                           CERTIFICATION OF COMPLIANCE

        I, Ruth Brown, an attorney and counsel for Plaintiffs in the present case, hereby certify
that Section 2(c) of the foregoing Memorandum of Law complies with this Court’s Local Rule
7.1(D)(5) and 7.1(B)(4) in that the word processing program I used to prepare the Memorandum,
Microsoft Word, measures the Word Count of the Argument Section of this Brief at 6594 words,
including headings, footnotes, and quotations.

                                                      /s/ Ruth Brown




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